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                       EXHIBIT 16
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                 MARKETING NEURONTIN




                   Expert Report of Charles King III

                           22 October 2007




                           Charles King III
                  Greylock McKinnon Associates Inc.
                   One Memorial Drive, Suite 1410
                        Cambridge, MA 02142




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   I. Summary

1.     Pfizer Inc. markets and sells the prescription drug Neurontin®. In
December 1993, the Food and Drug Administration (FDA) approved Neurontin
only for the adjunctive treatment of partial seizures in persons with epilepsy
older than 12 years of age at daily dosages up from 900 mg to 1800 mg. Parke-
Davis Pharmaceuticals started selling Neurontin in January 1994. Neurontin
subsequently received additional FDA approvals for use as adjunctive therapy
for treatment of seizures in children (October 2000) and for the management of
post-herpetic neuralgia in adults (May 2002). Pfizer acquired Warner-Lambert
LLC (Warner-Lambert) and its Parke-Davis division in 2000.

2.   I have been retained by counsel to address certain marketing and
economic issues with respect to the off-label promotion of Neurontin.

3.     It is my understanding that it is illegal for drug companies to promote
drugs for other, so-called “off-label,” uses that do not have FDA approval. I also
understand the following. Beginning in the mid-1990s, Neurontin was heavily
promoted and widely used for the off-label treatment of pain syndromes and
psychiatric conditions, including bipolar disorder. In 2004, Warner-Lambert, the
original developer of Neurontin, admitted guilt and settled litigation charging
that during the 1990s Warner-Lambert violated federal regulations by promoting
Neurontin for pain, psychiatric conditions, migraine, and other unapproved
uses. Since acquiring Warner-Lambert in 2000, Pfizer has continued to promote
Neurontin for these and other unapproved uses. Pfizer has failed to disclose the
lack of efficacy of Neurontin for certain off-label uses, suppressed information
about its serious adverse events, and made false and misleading statements
about Neurontin and its unapproved uses.

4.     On the basis of the above understanding of facts, counsel has retained me
to provide an expert opinion with respect to four main questions:

        a. Were the marketing and promotional efforts of Warner-Lambert and
           Pfizer significant contributing factors to the off-label sales of
           Neurontin?

        b. Would significant off-label sales of Neurontin have continued had
           Pfizer ceased off-label promotional activities for Neurontin?

        c. Did the suppression of information about serious adverse events
           enable growth in off-label sales?




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          d. Did Pfizer’s off-label marketing of Neurontin indirectly influence all
             physicians prescribing of Neurontin?

5.       In response to these questions, it is my opinion that:

          a. The marketing and promotional efforts of Warner-Lambert and Pfizer
             were significant contributing factors to the off-label sales of
             Neurontin.

          b. Off-label sales of Neurontin would have continued had Pfizer ceased
             off-label promotional activities for Neurontin.

          c. The suppression of information about serious adverse events enabled
             growth in off-label sales.

          d. Pfizer’s off-label marketing of Neurontin indirectly influenced all, or
             substantially, all physicians prescribing of Neurontin.




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     II. Qualifications

6.    I am a Special Consultant to Greylock McKinnon Associates, a consulting
and litigation support firm located in Cambridge, Massachusetts. As an
economist, I specialize in marketing, industrial organization, microeconomics
and econometrics.

7.     I have taught economics, marketing and statistical methods in economics;
conducted marketing and economic research; and provided economic and
marketing consulting in my areas of specialization. As an Assistant Professor in
Marketing at the Harvard Business School from 1997 to 2003, I taught courses in
marketing, information and network economics, and organizational economics
in the Masters and Doctoral programs. I also taught in Harvard Business School’s
executive education program for pharmaceutical companies and in IBM’s
Premier Program on competitive strategy. Since 1981, I have consulted to private
corporations, nonprofit corporations, law firms, consulting companies and
research organizations. Since 2001, I have served as a member of the Editorial
Review Board for Journal of Public Policy & Marketing. I have been and continue to
be a research referee for a variety of academic journals and the Robert Wood
Johnson Foundation. I am the author of various refereed journal articles, working
papers and consulting reports.

8.     My research activities include issues concerning health care and the
pharmaceutical industry. For example, I have written an academic working
paper1 analyzing marketing, product differentiation and competition in the
pharmaceutical drug market at issue in this case and published a case study2
evaluating Pepcid’s race against Zantac and other competitors to enter the over-
the-counter market. I have published a variety of peer-reviewed articles and
cases,3 including applications of marketing and economic analyses to health care
and pharmaceutical issues.




1C. King, “Marketing, Product Differentiation and Competition in the Market for Antiulcer Drugs,”
Harvard Business School, Working Paper No. 0-014 (Sept. 2000).

2E.R. Berndt, C. King, L. Klein and A.J. Silk, “Pepcid AC: The Race to Enter the OTC Market,” (9-500-073),
Harvard Business School. Also published in Problems and Cases in Health Care Marketing, edited by J.T.
Gourville, J.A. Quelch and V.K. Rangan, McGraw-Hill Irwin, 2003.

3 See C. King and D. Narayandas, “Coca-Cola's New Vending Machine (A): Pricing To Capture Value, or
Not?” (9-500-068), Harvard Business School; E.R. Berndt, C. King, L. Klein and A.J. Silk, “Pepcid AC: The
Race to Enter the OTC Market,” (9-500-073), Harvard Business School (also published in Problems and Cases
in Health Care Marketing, edited by J.T. Gourville, J.A. Quelch and V.K. Rangan. McGraw-Hill Irwin, 2003).




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9.     I have experience in applying economic and marketing theories to the
pharmaceutical industry. I have submitted testimony and consulted in litigation
involving health care and pharmaceutical markets and industries including:

       Consulting in the litigation brought by the Massachusetts Attorney
        General against the tobacco companies. Working with a team of health
        care experts, I submitted written testimony assessing and measuring the
        impacts of smoking on Medicaid health costs in The Commonwealth of
        Massachusetts.4

       Serving as an expert witness for the plaintiffs in Daniels v. Philip Morris
        Cos.5 In that assignment I examined the magazine advertising patterns of
        cigarette manufacturers.

       Testifying before the United States Senate on the effect of the Master
        Settlement Agreement on the potential exposure of young people to
        cigarette advertising in magazines.6

       Testifying on the issues of liability and market definition in an antitrust
        case involving the prescription drug Relafen.7

       Submitting written testimony regarding discovery and class certification
        and consulting to counsel for the plaintiffs regarding damages in a case
        involving the prescription drugs Celebrex and Vioxx.8

       Submitting written testimony analyzing impact and class certification and
        consulting to counsel for the plaintiffs regarding damages for the class of
        direct purchasers of the anti-depressant Paxil9 and for the class of

4The results of this work are described in D. Cutler, A. Epstein, R. Frank, R. Hartman, C. King, J.
Newhouse, E. Richardson and M. Rosenthal, “How Good a Deal was the Tobacco Settlement?: Assessing
Payments to Massachusetts,” Journal of Risk and Uncertainty (2000), 21 (2/3).

5   Daniels v. Philip Morris Cos., 18 F. Supp. 2d 1110 (Southern District of California, 1998).

6 C. King, Statement Before the Committee on Governmental Affairs, Subcommittee on Oversight of
Government Management, Restructuring and the District of Columbia, United States Senate, May 14, 2002
(available at <http://hsgac.senate.gov/051302king.pdf> as accessed October 2007).

7   In re Relafen Antitrust Litigation, United States District Court, D. Mass. Master File No. 01-CV-12222-WGY.

8Heindel et al. v. Pfizer et al. (hereafter Heindel), United States District Court, D. New Jersey, Civil Action,
Case No. 02-3348 (GEB).

9The Stop & Shop Supermarket Company et al. v. SmithKline Beecham Corporation, United States District Court,
Eastern District of Pennsylvania, C.A. No. 03-4578.



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            individual purchasers of the prescription drug Vioxx in two separate
            cases.10

        Submitting written testimony on behalf of Teva Pharmaceuticals USA,
         Inc., as defendant, determining whether Abbott Laboratories would suffer
         immediate “irreparable” harm unless granted an injunction.11

        Submitting written testimony concerning issues pertaining to class
         certification, liability and product market definition, and damages and
         consulting to counsel for the plaintiffs for the class of end payors of the
         prescription drug TriCor.12

        Consulting to Greylock McKinnon Associates on litigation involving a
         broad range of markets, including agricultural, financial13 and
         pharmaceutical14 markets, and legal issues. This consulting related to the
         following additional drug products: Augmentin,15 Cipro,16 K-Dur,17
         Lipitor,18 Lupron,19 Neurontin,20 Relefan21 and Remeron.22

10 Kleinman et al. v. Merck & Co., Inc., Superior Court of New Jersey Law Division: Camden County, Docket

No. ATL-L-7894-04-MT and Anderson et al. v. Merck & Co., Inc., Superior Court of the State of California,
County Of Los Angeles, Central Civil West, Case No. BC 324384.

11Abbott Laboratories v. Teva Pharmaceuticals USA Inc., United States District Court for the Northern District
of Illinois, Eastern Division, C.A. No. 07 C 2213.
12   In re: TriCor Indirect Purchaser Litigation, United States District Court, District of Deleware, C.A. No. 05-360.

13Lynne A. Carnegie v. Household International, Inc., Household Bank, f.s.b., successor in interest to Beneficial
National Bank, Household Tax Masters Inc., formerly known as Beneficial Tax Masters, Inc., Beneficial Franchise
Company, Inc., H&R Block, Inc., H&R Block Services, Inc., H&R Block Tax Services, Inc., H&R Block Eastern Tax
Services, Inc., Block Financial Corp. and HRB Royalty, Inc., No. 98 C 2178, United States District Court for the
Northern District of Illinois Eastern Division.

14In re Pharmaceutical Industry Average Wholesale Price Litigation, United States District Court for the District
of Massachusetts, MDL, No. 1456, CIVIL ACTION: 01-CV-12257-PBS.

15 In re Augmentin Antitrust Litigation, United States District Court for the Eastern District of Virginia, No. 02-

CV-442.

16In re Ciprofloxacin Hydrochloride Antitrust Litigation, Master File No. 1:00-MD-1383, United States District
Court for the Eastern District of New York.

17 In re K-Dur Antitrust Litigation, Civil Action No. 01-1652 (JAG), (Consolidated Cases), MDL No. 1419,

United States District Court for the District of New Jersey.

18In re American Federation of State, County and Municipal Employees, et al., Plaintiffs, vs. GlaxoSmithKline plc,
and SmithKline Beecham Corporation, Defendants, Docket No. 2:02cv442, United States District Court Eastern
District of Virginia Norfolk Division.




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10.    I received a bachelor’s degree in astronomy (magna cum laude) from
Harvard University in 1974. I received a juris doctor degree in law from the Yale
Law School in 1979 and a Ph.D. in economics from M.I.T. in 1997. Details of my
professional experience, publications, and past testimony are described in my
curriculum vitae, a copy of which is attached to this report as Exhibit A.

11.   Greylock McKinnon Associates Inc. bills my time on this matter at an
hourly rate of $475.


      III. Assignment

         A.        Introduction

12.    Pfizer Inc. markets and sells the prescription drug Neurontin. The active
pharmaceutical ingredient in Neurontin is known as gabapentin. In December
1993, the Food and Drug Administration (FDA) approved Neurontin only for the
adjunctive treatment of partial seizures in persons with epilepsy older than 12
years of age at daily dosages up from 900 mg to 1800 mg.23 This meant that
Neurontin was approved only as a “second-line” or add on treatment for use in
conjunction with another “front-line” epilepsy drug. Parke-Davis started selling
Neurontin in January 1994. Neurontin subsequently received additional FDA
approvals for use as adjunctive therapy for treatment of seizures in children




 In re Lupron Marketing and Sales Practices Litigation, United States District Court, District of Massachusetts,
19

MDL No. 1430, CA No. 01-CV-10861.

 In re Neurontin Marketing and Sales Practices Litigation, MDL Docket No. 1629, Master File No. 04-10981,
20

United States District Court, District of Massachusetts.

21 In re Relafen Antitrust Litigation, United States District Court, District of Massachusetts, Master File No. 01-

CV-12222-WGY.

 In re Remeron End-Payer Antitrust Litigation, United States District Court for the District of New Jersey,
22

Master Docket No. 02-CV-2007.

23“Prior to seeking approval of the drug from the FDA, Warner-Lambert’s Parke-Davis division filed a
patent application on November 23, 1990, in which the company sought protection for the use of the drug
has a method of treating neuro- degenerative diseases. … The [New Drug Application] submitted to the
FDA sought approval on a much narrower basis that was presented the patent application.” Sentencing
Memorandum of the United States, Page 12. Warner-Lambert subsequently applied for and received a
patent for “a novel therapeutic use of gabapentin for the treatment of mania in all its various forms,”
including treatment of bipolar disorder, on May 15, 1995. Pfizer APande 0000544-48.


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(October 2000) and for the management of post-herpetic neuralgia24 in adults
(May 2002).25 Pfizer acquired Warner-Lambert LLC (Warner-Lambert) and its
Parke-Davis division in 2000.26

13.     It is illegal for drug companies promote drugs for other, so-called “off-
label,” uses that do not have FDA approval. Beginning in the mid-1990s,
Neurontin was heavily promoted and widely used for the off-label treatment of
pain syndromes and psychiatric conditions, including bipolar disorder.27 In 2004,
Warner-Lambert, the original developer of Neurontin, admitted guilt and settled
litigation charging that during the 1990s Warner-Lambert violated federal
regulations by promoting Neurontin for pain, psychiatric conditions, migraine,
and other unapproved uses.28 Since 2000 when Pfizer acquired Warner-Lambert
and Neurontin, off-label uses continue to dominate Neurontin sales.

           B.       Scope of the Assignment

14.        Counsel has asked me to address four main questions:

              a. whether the marketing and promotional efforts of Warner-Lambert
                 and Pfizer were significant contributing factors in the off-label sales of
                 Neurontin,

             b. whether significant off-label sales of Neurontin would have continued
                had Pfizer ceased off-label promotional activities for Neurontin,

              c. whether the suppression of information about serious adverse events
                 enabled the growth in off-label sales, and


24 “Postherpetic neuralgia is a painful condition affecting your nerve fibers and skin. It's a complication of

shingles, a second outbreak of the varicella-zoster virus, which initially causes chickenpox.” Mayo Clinic,
http://www.mayoclinic.com/health/postherpetic-neuralgia/DS00277.


25   See, for example, Approval Letter, Center for Drug Evaluation and Research,
http://www.fda.gov/cder/foi/nda/2002/21-397.pdf_Neurontin_Approv.pdf, as accessed October 2007.


26 In the following, references to Warner-Lambert include its Parke-Davis subsidiaryand references to Pfizer

include Warner-Lambert following its purchase by Pfizer in 2000.
27   Sentencing Memorandum, page 10.
28 US Department of Justice. Warner-Lambert to pay $430 million to resolve criminal & civil health-care

liability relating to off-label promotion. See “Warner-Lambert to Pay $430 Million to Resolve Criminal &
Civil      Health      Care      Liability  Relating   to   Off-Label     Promotion,”     available    at
http://www.usdoj.gov/opa/pr/2004/May/04_civ_322.htm, accessed October 14, 2007.



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            d. whether Pfizer’s off-label marketing of Neurontin                                indirectly
               influenced all prescribing physicians of Neurontin.

          C.       Materials Relied Upon

15.    In reaching my conclusions, I have relied upon the materials identified in
Attachment B and throughout this report. I have also reviewed the results of
analyses performed by Keith Altman, Finkelstein & Partners, LLP, and carried
out under my direction of data requested from counsel.29 My opinions are also
based on my experience as an academic researcher in the pharmaceutical
industry and my expertise as an economist specializing in marketing and
industrial organization. I reserve the right to supplement my analyses and
opinions in light of additional documents, data, expert reports, or testimony that
may subsequently become available. I also reserve the right to prepare and use
visual aids in connection with my testimony at trial.


IV. The Success of the Neurontin Off-Label Strategy

          A.       Growth in Neurontin Off-Label Prescriptions

16.     Warner-Lambert estimated that the “ultimate” sales potential for
Neurontin over the life of its patent was only $500 million because of the limited
adjunctive use for which it had been approved.30 To expand the market for
Neurontin, Warner-Lambert developed a “publication strategy.”31 Its goal was
“to disseminate the information [about Neurontin’s potential use for psychiatric
disorders, including bipolar and mood and anxiety disorders] as widely as
possible through the world’s medical literature”32 as a means of generating
excitement in the market and stimulating off-label prescriptions despite the lack
of FDA approval.33 Warner-Lambert calculated that this strategy would avoid


29Data requested from plaintiffs council. Data computations performed by Keith Altman, Finkelstein &
Partners, LLP,under my direction.
30   See Memorandum from Walker to Laesecke, Pierce and Ulrich, 5/18/94, V090268.
31 For an overview of the public education strategy, see generally Sentencing Memorandum of the United

States and Steinman et al. article.
32United States ex rel. Franklin v. Parke-Davis, 147 F. Supp.2d 39 (D. Mass. 2001), Exhibit 171. [Inner office
memorandum from Atul Pande to John Boris, re: “Gabapentin Approvals”, and handwritten response]; 28
March 1995: X029227.
33 United States ex rel. Franklin v. Parke-Davis, 147 F. Supp.2d 39 (D. Mass. 2001), Exhibit 26. Marketing
Assessments – Neurontin in Neuropathic Pain and Spasticity [and cover letter]; 24 July 1995: WL 07520 –
07547 and Exhibit 31 [Parke-Davis memo from John Boris to “Distribution,” re: “Marketing Assessments –
Neurontin in Migraine,” and cover letter]; 31 July 1996: V 082736 – 082761.



                                                     11
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the costly and time-consuming clinical trials required for FDA approval.34
Warner-Lambert, and later Pfizer, were aware that although other anticonvulsant
drugs were approved for similar psychiatric applications, Neurontin worked
through a different mechanism of action and that they lacked sufficient scientific
evidence of Neurontin’s efficacy to obtain FDA approval for these uses.35

17.    In the years following Neurontin’s initial approval, Warner-Lambert and
Pfizer implemented similar strategies to promote off-label uses of Neurontin at
doses of more than 1800 mg per day and for neuropathic pain, epilepsy
monotherapy,36 migraine prophylaxis, Restless Leg Syndrome (RLS)/Periodic
Limb Movement Disorder (PLMD), and nociceptive37 and non-neuropathic pain.
In each case, off-label Neurontin prescriptions sharply increased after the
commencement of an off-label marketing campaign, as shown in the following
graphs. Although Neurontin was approved only for a specific epilepsy
indication, Warner-Lambert promoted Neurontin for pain; psychiatric
conditions, such as bipolar disorder and anxiety; and other unapproved uses
“from at least June of 1995 through the least April of 2000, across United
States.”38 Promotion of Neurontin for off-label uses continued and Neurontin
prescriptions for unapproved uses increased after Pfizer acquired Warner-
Lambert, as shown in Figures 1 through 6.




34 Parke-Davis lacked time to do proper clinical trials in support of an application to the FDA for the
approval of Neurontin for other uses, because the patent was due to expire in 1998 (later extended to 2000).
See, e.g., Memorandum from Mi Dong to Neurontin Anticonvulsant Development Team of 3/16/95,
X028957-62 at p. X028961; Memorandum from J. Pieroni to Anton, Brandner, Cadre, Evans, Gemelli,
Montgomery, and Summers of 3/22/95, V086787-91 at V086789; Interoffice Memorandum from Pande to
Boris of 3/23/95, X029226; Cover letter from Brandicourt to Development Team of 7/31/95 with attached
Marketing Assessments: Neurontin in Neuropathic Pain and Spasticity of 7/24/95, WL 07520-47 at WL
07524; Memorandum from Boris to NPC Committee, Development Team, and Marketing Council of
7/31/96, V082736-61 at V082737; and Memorandum from Francie Kivel to J. Boris, O. Brandicourt, E.
Guerrero, J. Knoop, L. Magnus-Miller, and L. Perlow, October 26, 1995, V053848-77 at V053853.
35“Though no preclinical data support the efficacy of gabapentin in acute mania the observations of other
anticonvulsants suggests that gabapentin may be effective in the treatment of acute mania and in the
prophylaxis of bipolar disorder.” Pfizer_JMarino_0001272.
36 Monotherapy refers to the use of Neurontin by itself, rather than in combination with another drug, to
control epileptic seizures. Parke-Davis formally applied to the FDA for a monotherapy indication in 1996.
The FDA rejected the application on the grounds at Parke-Davis had failed to demonstrate efficacy.
Sentencing Memorandum of the United States, p. 24.
37   Nociceptive pain refers to pain caused by an injury to bodily tissues.
38   Sentencing Memorandum of the United States, p. 10.



                                                        12
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Figure 1: Off-Label Uses of Neurontin: Anxiety Disorder


                                                     Verispan Projected Uses Anxiety

                    140



                    120



                    100



                    80
      Uses (000s)




                    60



                                                                                              Anxiety
                    40



                    20



                     0
                     1994   1995    1996        1997        1998   1999     2000       2001      2002   2003   2004
                                                                   Year
Source: Data provided by Keith Altman, Finkelstein and Partners




                                                                   13
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Figure 2: Off-Label Uses of Neurontin: Bipolar and Mood Disorders


                                                Versipand Projected Uses Bipolar Mood

                      450


                      400


                      350


                      300
        Uses (000s)




                      250


                      200


                      150
                                                                             Bipolar Mood

                      100


                       50


                        0
                        1994   1995   1996       1997        1998   1999   2000    2001     2002   2003   2004
                                                                    Year
Source: Data provided by Keith Altman, Finkelstein and Partners




                                                                    14
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Figure 3: Off-Label Uses of Neurontin: Pain

                                            Verispan Projected Uses Non-neuropathic Pain
                900


                800


                700


                600

                                                                                                   DPN
  Uses (000s)




                500


                400                                                         PHN-Off Label



                300


                200
                                                                                 Non-Neuropathic Pain

                100


                  0
                  1994   1995     1996         1997        1998    1999   2000       2001        2002       2003    2004
                                                                   Year
 Source: Data provided by Keith Altman, Finkelstein and Partners          Non-Neuropathic Pain     PHN Off-Label   DPN




                                                                     15
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Figure 4: Off-Label Uses of Neurontin: Migraine and Headache

                                                    Verispan Projected Uses Migraine


                     70



                     60



                     50



                     40
       Uses (000s)




                     30



                     20
                                                                            Migraine


                     10



                     0
                     1994   1995    1996        1997         1998   1999    2000       2001   2002   2003   2004
                                                                    Year
Source: Data provided by Keith Altman, Finkelstein and Partners




                                                                    16
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Figure 5: Off-Label Uses of Neurontin: Non-Neuropathic Pain


                                             Verispan Projected Uses Non-neuropathic Pain

                   700



                   600



                   500
                                                                             Non-neuropathic Pain
                                                                                 Nociceptive
     Uses (000s)




                   400



                   300



                   200
                                                                                      Non-neuropathic Pain
                                                                                            Unclear

                   100



                    0
                    1994   1995   1996         1997        1998    1999       2000        2001       2002       2003        2004
                                                                   Year

 Source: Data provided by Keith Altman, Finkelstein and Partners   Non-neuropathic Pain Unclear      Non-neuropathic Pain Nociceptive




18.    An unusually high percentage of Neurontin sales derived from its off-
label uses.39 In 2006, Radley et al.40 conducted a study analyzing the off-label
prescriptions of the 160 most commonly prescribed drugs.41 The researchers
found that gabapentin “had the highest portion of offlabel prescriptions”42 of all
the 160 drugs in the sample, with 83% of prescriptions being written for off-label
indications. 43 The study found that in general a high proportion of all off-label
drug usage lacked any clinical support, and that “[this] is especially true for


39Pfizer acknowledged Neurontin’s high level of off-label sales was unusual: “Neurontin is the extreme
example, with less than 10% of use for epilepsy, and the largest off-label use for pain management.”
Pfizer_CTaylor_0000414. One managed Medicaid plan found that “95% [of patients] received gabapentin
for off-label diagnoses.” Hamer et al., “Gabapentin use in a managed medicaid population”, Journal of
Managed Care Pharmacy, Vol. 8, No. 4, 2002, pp. 266-71.
40D.C. Radley, S. N. Finkelstien and S. Stafford, “Off-label Prescribing Among Office-Based Physicians”,
Arch Intern Med. , Vol. 166, May 8, 2006, pp. 1021-1026.
41 Radley et al. (2006) used 2001 IMS Health National Disease and Therapeutic Index (NDTI) data in their

study. In 2001, Neurontin was still under patent protection, therefore, it would have been the only source of
gabapentin available to physicians, and all of the off-label prescriptions for gabapentin would essentially be
off-label prescriptions for Neurontin.
42   Ibid, p.1023.
43   Ibid, p.1023.



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gabapentin, where only 20% of its offlabel use had strong support compared
with 80% with limited or no support.”44

Figure 6: On-Label and Off-Label Uses of Neurontin


                                                        Verispan Uses by Indication

                   3000




                   2500
                                                                                                      Migraine



                   2000

                                                                                                    Pain                       Migraine
                                                                                                                               Pain
     Uses (000s)




                                                                                                                             Migraine
                                                                                                                               Psychiatric
                   1500                                                                                                        Other
                                                                                                                               PHN
                                                                                           Psychiatric                         Epilepsy

                   1000




                    500                                                                       Other


                                                                           PHN Off-Label                   PHN On-Label
                                      Epilepsy
                     0
                     1994      1995       1996   1997   1998       1999        2000    2001      2002       2003      2004
                                                                   Year
 Source: Data provided by Keith Altman, Finkelstein and Partners




                          B.     Growth in Neurontin Sales

19.    Although Parke-Davis had predicted that Neurontin had an “ultimate”
sales potential of $500 million over the life of its patent45, Neurontin sales quickly
passed this estimate. By 1999, only five years after its launch, Neurontin annual
sales had already surpassed $500 million. By 2003, under Pfizer’s ownership,
annual sales of Neurontin were $2.4 billion.




44Ibid, pp. 1023-4. See also Affidavit of C. Seth Landefeld, M.D., and Michael Steinman, M.D., dated May 19,
2003, from Franklin case.
45   See Memorandum from Walker to Laesecke, Pierce and Ulrich, 5/18/94, V090268.



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Figure 7: Total Annual Neurontin Sales

                                                                                                                       Neurontin Sales (Dollars)

                   $700,000



                   $600,000



                   $500,000
  Dollars (000s)




                   $400,000



                   $300,000



                   $200,000



                   $100,000



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      Source: Data provided by Keith Altman, Finkelstein and Partners




                   V. Marketing in the Pharmaceutical Industry

20.    Drug marketing is pervasive and permeates the medical profession. Most
marketing efforts are targeted at influencing doctors, since they are the ones who
write prescriptions. The goal is to influence doctors’ prescribing habits to
increase drug company profits.

21.    To promote their products, drug companies spend a high percentage of
their revenues on marketing. Pharmaceutical firms typically spend as much, or
more, on marketing than they do on research and development.46 Both Warner-

46 Marcia Angell, The Truth About the Drug Companies How They Deceive Us and What to do about it, Random

House Press, 2004.




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Lambert and Pfizer spent more on promoting their drugs than they did on
research and development.47

22.    Prescription drugs are not like ordinary consumer goods. People depend
on them for their health and, in some cases, even their life. Unlike typical
consumer goods, prescription drugs can only be purchased under the
supervision of a physician. Although patient preferences play a role, doctors
exercise primary influence over health-care decisions, particularly for serious
medical conditions. Doctors, as learned intermediaries, select the best drug for
the patient. Since doctors ultimately decide which drugs to prescribe,
pharmaceutical companies concentrate their marketing efforts on them.

      A. The Drug Approval Process



Marketing expenses typically exceed research and development expenditures in the pharmaceutical
industry. (See, e.g., Families USA Foundation, “Off the Charts: Pay, Profits and Spending by Drug
Companies,” Families USA Publication No. 01-104, July 2001, p. 1; M.A. Hurwitz and R.E. Caves,
“Persuasion or Information? Promotion and the Shares of Brand Name and Generic Pharmaceuticals,”
Journal of Law and Economics, Vol. 31(2), Oct. 1988, p. 302; J. Sutton, Technology and Market Structure,
Cambridge: The MIT Press, 1998, pp. 219-220 and footnote 17; Schweitzer, op. cit. From 1992 to 1994, the
three largest U.S. pharmaceutical manufacturers – Merck, Pfizer and Eli Lilly – spent between 11% and 15%
of their annual sales on research and development compared to 21% to 41% of their annual sales on
marketing and promotional expenses, according to one academic study. (Schweitzer, op. cit., p. 43.)

Pharmaceutical firms spend an uncommonly large percentage of their revenues promoting their products.
Promotion-to-sales ratios for prescription drugs typically range from 10 to 30 percent or more of sales,
making them among the most heavily promoted of all manufactured goods. (See, e.g., K. Leffler,
“Persuasion or Information? The Economics of Prescription Drug Advertising,” The Journal of Law and
Economics, Vol. 24, April 1981, pp. 45-74.) This stands in sharp contrast to advertising in the median
manufacturing industry, which devotes less than 1 percent of its sales revenues to advertising. (F.M.
Scherer and D. Ross, Industrial Market Structure and Economic Performance, Third Edition, Boston: Houghton
Mifflin Company, 1990, p. 573.)

The high marketing-to-sales ratios observed in the pharmaceutical industry can be explained in terms of the
underlying industry economics. Marginal production costs, the additional costs of producing one more unit
of output, are typically small for pharmaceuticals. An additional dollar in sales consequently results in
nearly an additional dollar in profits. Pharmaceutical companies therefore have strong incentives to increase
the demand for their products. (E.R. Berndt et al., “Information, Marketing, and Pricing and the U.S.
Antiulcer Drug Market,” American Economic Review, Volume 85(2), 1995, Papers and Proceedings of the
107th Annual Meeting of the American Economic Association, Washington D.C., pp. 100-5.)

47Warner-Lambert’s selling, distribution and administration expenses represented between 46.1 percent and
46.9 percent of its total revenues between 1998 and 2000, when it was acquired by Pfizer. During the same
period, Warner-Lambert spent between 8.9 percent and 9.7 percent on research and development. Pfizer
also spends more on marketing than research. From 2000 to 2006, Pfizer’s selling, distribution and
administrative expenses ranged between 32.2 percent and 41.1 percent of its total revenues compared to
expenditures varying between 14.4 percent and 17.1 percent on research and development.




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23.    By law, before a new drug can be marketed, it must be approved by the
Food and Drug Administration. Drugs must meet efficacy and safety standards
before they can be sold. The pharmaceutical company must prove to the FDA
that the drug is reasonably safe and effective for a specific use or indication. That
proof typically requires a series of clinical trials to evaluate the safety and
efficacy of the drug among a group of patients and nearly always includes a
comparison group who do not receive the drug.

24.     Drug companies generally do not conduct their own clinical trials but rely
on doctors in teaching hospitals and private practice to do the studies, using
either their own patients or volunteers recruited through solicitation. In the past,
medical schools and teaching hospitals conducted most clinical trials.
Pharmaceutical companies would provide research grants to physicians on their
faculties to carry out clinical trials under institutional supervision. More recently,
private companies have sprung up in the pharmaceutical industry with the sole
purpose of organizing and administering drug trials. These contract research
organizations (CROs) assemble and supervise groups of doctors who are paid to
administer the study drugs and collect data on their effects. To obtain human
subjects for clinical trials, drug companies or contract research organizations
routinely pay doctors money on a per patient basis.

25.    After clinical trials are completed, the drug company must file a new drug
application (NDA) with the FDA to obtain approval to market the new drug. The
agency and its advisory committees of outside experts review the application, the
outcomes of the clinical trials, and other evidence provided by the drug company
in support of its application. Only after the FDA approves the drug is it allowed
on the market.

   B. FDA Approves Drugs Only for Specific Uses

26.    By law, drug companies are permitted to market and promote drugs only
for approved uses. The FDA approves new drugs only for the specific uses, or
indications, and the doses spelled out in the label or package insert that
accompanies the drug. This prevents drug companies for marketing drugs for
other uses, not approved by the FDA, without clinical data demonstrating the
safety and efficacy of the drug for that use. It is illegal for drug companies to
promote drugs for these “off-label” uses, although doctors may prescribe drugs
for any use at any dosage they consider appropriate. In addition to reviewing
drug labeling for accuracy, the FDA is empowered to check advertisements and
promotional materials for accuracy and balance.

   C. FDA Regulates Drug Promotion



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27.    Under the Federal Food, Drug, and Cosmetic Act and related regulations,
the FDA regulates the promotion of prescription drugs.48 Promotional materials
may only make claims are supported by strict scientific evidence, and they may
not be false or misleading. To ensure that doctors and consumers understand
both the benefits and limitations of a drug, FDA regulations call for “fair
balance” in all marketing claims and materials. The drug’s risks as well as its
benefits must be clearly identified, and the risks must be given appropriate
prominence. All promotional materials must also be consistent with the FDA-
approved product labeling. Drugs may only be marketed and promoted for their
approved uses.

       D. Where Doctors Get Their Information About Drugs

28.    Given the pace of technological innovation and new treatments in modern
medicine, physicians must keep abreast of a continuous stream of new medical
developments. Doctors might be able to keep up by assiduously studying the
latest medical journals and textbooks, but most do not have the time49. Where
then do doctors get their information on which drugs to prescribe for their
patients? Physicians rely upon the published medical literature as “the ultimate
basis for most treatment decisions.”50 “[P]hysicians prefer to obtain information
from journals and books, but also … they often consult colleagues to get answers
to clinical and research questions.”51 Most depend, at least in part, on the
scientific integrity of the medical process to provide them with unbiased sources
of information. They scour medical journals for the latest research. They
participate in conferences, meetings, and continuing medical education (CME)
events to learn from experts and “opinion leaders” in the field.52 They consult

48   Federal regulations for prescription drug advertising are outlined in 21 CFR 202.1.
 Continuing education meeting polls found “most physicians spend less than an hour a week reading.” J.
49

M. Grimshaw et al., “Changing physicians' behavior: What works and thoughts on getting more things to
work”, Journal of Continuing Education in the Health Professions, Vol. 22, 2002, pp.237-43.
50 F. Davidoff, C.D. DeAngelis, J.M. Drazen, M.G. Nicholls, J. Hoey, L. Hojgaard, et al. “Sponsorship,

Authorship, and Accountability,” The New England Journal of Medicine, Volume 345(11), September 2001, 825-
82 and The Journal of the American Medical Association, Volume 286(10), September 2001, 1232-1234. An
editorial in The American Journal of Psychiatry notes: “[s]urveys of physicians find that over 90% of us look to
original articles in medical journals as our most preferred source of new information for help in treating
patients.” (D.A. Lewis, R. Michels, D.S. Pine, S.K. Schultz, C.A. Tamminga, R. Freedman, “Conflict of
Interest,” The American Journal of Psychiatry, Volume 163(4), April 2006, 571-3.)


51Haug,James, “Physicians' preferences for information sources: a meta-analytic study”, Bull Medical Library
Association, Vol.85, July 1997.


52Within the medical community there is a hierarchy of influence. The opinion of medical specialists, for
example, generally carries more weight within the profession than those of general practitioners.



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textbooks and medical references for expert recommendations on best practice
derived from the body of scientific evidence.

29.    As a practical matter, doctors are constrained in their abilities to absorb
the continuous stream of information about new treatments by their limited time
and cognitive abilities.53 Doctors are often not aware of the latest scientific
evidence on treatments and rely heavily on information provided by drug
companies in marketing and promoting their products.54 Marketing’s role in
informing physicians has been widely studied over the years.55 A recent study of
the United States market for antiulcer drugs found that marketing had more of
an impact on demand than clinical research.56

       E. Marketing Drugs

30.    Drug companies employ six primary marketing tools to promote their
products to physicians and consumers: personal selling (or “detailing”), direct
mail, medical journal advertising, free samples to physicians, medical education
events and direct-to-consumer advertising. Drug sales representatives are
ubiquitous in the medical world.57 Drug company sales representatives visit
doctors in their offices and hospitals to promote their products. Drug company
sales representatives have traditionally played a role in informing doctors about


53F.M. Scherer, “The Pharmaceutical Industry” in eds. A.J. Culyer and J.P. Newhouse, Handbook of Health
Economics, Elsevier, 2000, pp. 1300-1302.
54See, e.g., S. Schweitzer, Pharmaceutical Economics and Policy, New York: Oxford University Press, 1997, p.
43. From E.R. Berndt, “The U.S. Pharmaceutical Industry: Why a Major Growth in Times of Cost
Containment?” Health Affairs, Vol. 20(2) 2001, pp. 111-2:

            Marketing provides technology-transfer information to patients and providers on efficacy
            in the treatment of specific medical disorders based on clinical trial data; the incidence of
            side effects, adverse interactions, and contraindications; pharmacokinetic properties
            involving half-life and dosage; and, in the naturalistic environment outside the clinical
            trial setting, effectiveness information on post-launch product surveillance evidence,
            actual dosages, off-label usage (when appropriate), subpopulation differentials,
            tolerability, and cost effectiveness.

55   See, e.g., Schweitzer’s discussion of academic and marketing studies, Schweitzer, op. cit., p. 46.

56P. Azoulay, “Do Pharmaceutical Sales Respond to Scientific Evidence?” Journal of Economics & Management
Strategy, Volume 11, No. 4, Winter 2002, pp. 551-594.

57Currently, there approximately 100,000 pharmaceutical sales representatives in the United States. M.
Adams, “Drug reps use psychological tactics to successfully influence doctors' prescribing habits”, News
Target Network, July 30, 2007, http://www.newstarget.com/021956.html, accessed September 21, 2007.




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the new medicines, products and therapies;58 providing free drug samples;
answering physicians’ questions and maintaining goodwill. The distribution of
free drug samples (“sampling”) also targets doctors directly. Sampling is
designed to increase sales by building a physician’s personal experience with the
drug and increasing his or her confidence in prescribing it.59 Medical education
events, such as symposia, conferences, and lectures, have a substantial influence
on prescribing behavior.60 Pharmaceutical companies subsidize and sponsor
these programs as one component of their overall promotion strategy.61

       F. Marketing Neurontin for Off-Label Uses

31.    Since the drug company educates the medical profession and the public
about its drugs and the conditions they treat, this creates an inherent conflict of
interest between selling drugs and evaluating them. Most of these medical
educational activities are directed towards doctors. In the case of Neurontin, it
was crucial for Warner-Lambert and allegedly Pfizer to maintain that these
expenditures were for education, not promotion, so that it could evade legal
constraints on its marketing activities.62 Drug company sponsorship does not
mean that research is necessarily biased, but in the case of Neurontin, the drug
company allegedly influenced the research, subverted the scientific process, and
biased the sources that doctors relied upon for unbiased information.63

       G. Doctors Depend on the Integrity of the Scientific Process for Unbiased
          Information About Drugs

32.    Doctors depend on the integrity of the scientific process for accurate and
reliable information about the drugs they prescribe. Warner-Lambert and Pfizer
allegedly subverted the scientific process in two ways: by what they did and by
what they did not do. Warner-Lambert and Pfizer allegedly promoted off-label
uses of Neurontin by making false claims about its uses and efficacy. Warner-


58   See, e.g., D. Dogramatzis, Pharmaceutical Marketing: A Practical Guide, Colorado: IHS Health Group, 2002.

59   Schweitzer, op. cit., p. 49

60 “One study of prescribing decisions by general physicians found that seminars, conferences, and lectures

organized by pharmaceutical companies had more influence than advertisements, promotional material
(e.g., samples, calendars, or diaries), or direct mail. Moreover, many of the doctors surveyed did not
interpret such ‘educational’ activity as promotion (Pitt and Nel 1988).” Schweitzer, op. cit., p. 52.

61   Schweitzer, op. cit., p. 52

62   Sentencing Memorandum of the United States, pp 40-42; Steinman et al. (2006), pp. 286-288.
63   See, e.g., Sentencing Memorandum of the United States; Steinman et al. (2006).



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Lambert and Pfizer allegedly failed to disclose or omitted information about
Neurontin’s lack of efficacy and its side effects. Both these actions would have
affected the prescribing habits of physicians.

      H. How Drug Company Promotion Influences Doctors

33.    The effect of drug promotion on physician beliefs, knowledge, and self-
reported behavior has been widely studied.64 Although doctors generally do
perceive pharmaceutical marketing to be effective, they do not appear to
recognize their own susceptibility to commercial influences.65 Academic studies
suggest that inaccurate, incorrect or misleading information about drugs may be
frequently conveyed in promotional settings,66 that doctors do not consistently
distinguish between correct and incorrect information,67 and that the perceived –




64 See footnotes 65 - 73 and E. Clayton, “‘Tis Always the Season for Giving,” CALPIRG Report, September

2004; Editorial Staff, “Pharmaceutical Marketing to Physicians: Free Gifts Carry a High Price,” American
Medical News, 10 June 2002; A. Wazana, “Physicians and the Pharmaceutical Industry,” The Journal of the
American Medical Association, 283:373-380, 2000; A. Fugh-Berman, “The Corporate Coauthor,” Journal of
General Internal Medicine, 20(6):546-8, June 2005.
65J. Avorn, M. Chen, and R. Hartley, “Scientific Versus Commercial Sources of Influence on the Prescribing
Behavior of Physicians,” American Journal of Medicine, 73 (1), 4–8, 1982.
66 M. Bowman and D. Pearle, “Changes in Drug Prescribing Patterns Related to Commercial Company

Funding of Continuing Medical Education,” Journal of Continuing Education in the Health Professions 8:13–20,
1988; M. G. Ziegler, P. Lew, B. C. Singer (1995) “The Accuracy of Drug Information from Star
Pharmaceutical Sales Representatives,” JAMA 273: 1296-1298; E. Hemminki (1997), “Content Analysis of
Drug-Detailing by Pharmaceutical Representatives,” Med Educ 11:210-215; D. Stryer and L.A. Bero,
“Characteristics of Materials Distributed by Drug Companies. An Evaluation of Appropriateness,” J. Gen
Intern Med 11: 575-583; H.A. Waxman, (2005), “Memorandum to Democratic Members of House
Government        Reform    Committee:     a   Marketing     of    Vioxx   to    Physicians,”     available:
HTTP://www.democrats.reform.house.gov/documents/20050505114932-41272.pdf; E.E. Roughead, A. L.
Gilbert and K.J. Harvey (1998), “Self-Regulatory Codes of Conduct: Are They Effective in Controlling
Pharmaceutical Representatives’ Presentations to General Medical Practitioners?” Int J Health Serv 28:269-
279; J. Lexchin (1997), “What Information do Physicians Receive from Pharmaceutical Representatives?” Can
Fam Physician 43: 941-945.
67M. G. Ziegler, P. Lew, B. C. Singer (1995) “The Accuracy of Drug Information from Star Pharmaceutical
Sales Representatives,” JAMA 273: 1296-1298; D. Stryer and L.A. Bero, “Characteristics of Materials
Distributed by Drug Companies. An Evaluation of Appropriateness,” J. Gen Intern Med 11: 575-583; A. E.
Shaughnessy, D. C. Slawson and J.H. Bennett (1994), “Separating the Wheat from the Chaff: Identifying
Fallacies in Pharmaceutical Promotion,” J Gen Intern Med 9: 563-568; W. Molloy, D. Strand, G. Guyatt et al.
(2002), “Assessing the Quality of Drug Detailing,” Journal of Clinical Epidemiology 55:825-832.




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rather than the actual – quality of information changes doctor behavior.68 Doctors
typically deny that gifts and payments influence their prescribing behavior.69

34.    Research studies have investigated the association between specific types
of physician behavior and free samples, contact with drug company sales
representatives, attendance of company-sponsored events, and gifts. These
studies have demonstrated a positive effect of drug promotion and company-
sponsored continuing medical education (CME) on a) prescription of the specific
drug promoted,70 b) prescription of new drugs in place of older, generic
products,71 and c) formulary requests.72

35.   In the case of Neurontin, drug company representatives frequently
promoted unapproved uses, and their sales calls often resulted in doctors
planning to increase their use Neurontin.73

       I. How Economic Considerations Affect Drug Usage

36.    Widespread insurance coverage means that doctors and their patients will
be relatively insensitive to drug prices and will rationally experiment with
therapies with relatively low expected benefits.74 Doctors and their patients also
face an information problem in choosing the right drug that may prevent the
market from functioning efficiently.75 Drugs, like Neurontin, are “credence
goods,” which means their effect may never be known because multiple factors

68J. E. Calfee and D. J. Ringold (1994), “The 70% Majority: Enduring Consumer Beliefs about Advertising,”
Journal of Public Policy and Marketing, Volume 13, pp. 228-28; C. I. Hovland and W. Weiss (1951), “The
Influence of Source Credibility on Communication Effectiveness,” Public Opinion Quarterly, Volume 15,
pp. 635-650.
69 A. Wazana, op. cit., 2000; W. Sandberg et al., “The Effect of Educational Gifts from Pharmaceutical Firms
on Medical Students' Recall of Company Names or Products,” Academic Medicine, 72:916-918, 1997; B.
Hodges, “Interactions with the Pharmaceutical Industry: Experiences and Attitudes of Psychiatry Residents,
Interns and Clerks,” Canadian Medical Association Journal, 1:153(5):553-9, September 1995.
70   Ibid.
71 M.Y. Peay and E.R. Peay, “The Role of Commercial Sources in the Adoption of a New Drug,” Social

Science & Medicine., 26:1183-1189, 1988.
72M. Chren and C. Landefeld, “Physicians' Behavior and Their Interactions with Drug Companies: A
Controlled Study of Physicians Who Requested Additions to a Hospital Drug Formulary,” The Journal of the
American Medical Association, 271, 684-689, 1994.

 Michael A. Steinman, G. Michael Harper, et al. (2007), “Characteristics and Impact of Drug Detailing for
73

Gabapentin,” PLoS Medicine, April 2007, Volume 4, Issue 4, pp. 0743–0751.
74J.P. Newhouse and the Insurance Experiment Group, Free for All? Lessons from the RAND Health Insurance
Experiment, Cambridge: Harvard University Press, 1993.
75 Nobel prize winning economist Kenneth Arrow first recognized this problem (K. Arrow, “Uncertainty

and the Welfare Economics of Medical Care,” The American Economic Review, 53:941-73, 1963).



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can affect the course of an illness. This problem is exacerbated for Neurontin
because       many of the “off-label” uses of Neurontin have large “placebo
effects”. As a result, market forces are likely to fail to protect consumers against
         76

false drug claims.


       VI. Marketing Neurontin in the Warner-Lambert Era (1994 – 2000)

           A.       Creation of the Off-Label Strategy

37.    Neurontin was initially approved only for epileptic seizures in adult
patients who had failed to improve using other treatments, a limited market.77
Yet Neurontin became a one of the world’s best-selling drugs, as sales for
unapproved uses grew to approximately 90 percent of sales (See Figure 8).78 Off-
label uses for Neurontin grew from approximately 15 percent of all uses in 1994
when Neurontin was first marketed to 94 percent of all uses in the United States
by 2002.79

Figure 8: Neurontin Sales for Unapproved Uses Were Approximately 90
Percent of Total Sales in 2003.




76 The placebo effect is defined as: “A remarkable phenomenon in which a placebo -- a fake treatment, an
inactive substance like sugar, distilled water, or saline solution -- can sometimes improve a patient's
condition simply because the person has the expectation that it will be helpful.” MediceNet.com
(http://www.medterms.com/script/main/art.asp?articlekey=31481) Placebo effects are widespread in
clinical research and practices and have been widely studied. See, for example, Fabrizio Benedetti and
Martina Amanzio, “The Neurobiology of Placebo Analgesia: From Endogenous Opiods to Cholecystokinin,”
Progress in Neurology, Vol. 51, pp. 109-125, 1997; Frederic M. Quitkin, “Placebos, Drug Effects, and Study
Design: A Clinician’s Guide,” American Journal of Psychiatry, 156:6, June 1999 (placebo response rates vary
from 25 to 60% for patients with major depressive disorders); Asbjorn Hrobjartsson and Peter Gotzche, “Is
the Placebo Powerless? An Analysis of Clinical Trials Comparing Placebo with No Treatment,” The New
England Journal of Medicine, Vol. 344, No. 21, May 24, 2001 (review of 27 trials involving pain treatment
“showed a significant effect of placebo as compared with no treatment”); Marlena A. Piercy, John J. Sramek,
Neal M. Kurtz and Neal R. Cutler, “Placebo Response in Anxiety Disorders,” The Annals of Pharmacotherapy,
Vol. 30, No. 9, 1996, pp. 1013-1019 (summarizes placebo response rates: generalized anxiety, 18-67%; panic
disorders, 20-134%; social phobia, 7-43%; and obsessive-compulsive disorder, 7-19%).
77   See ¶¶ 12 and 16.
78In 2003, Neurontin ranked 10th in U.S. sales (Drugs.com, http://www.drugs.com/top200_2003.html) with
sales of $2.4 billion.
79   Sentencing Memorandum of the United States, p. 13.



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                                  Neurontin Uses as Percentage of Sales 2003
                                        Recreated from Pfizer_CTaylor_0000414




                                                Neuropathic Pain, 32%



       WW Sales 2003                            Migrane/Headache, 8%
        $2.4 Billion
                                                        Bipolar, 15%


                                                 Other Psych Disorder,
                                                         23%


                                                       All Others, 12%

                                                  Epilepsy/Convulsion,
                                                          10%


                                                   1




38.    Warner-Lambert promoted Neurontin for the treatment of bipolar
disorder, a psychological condition, even though a study had shown that the
medicine was no better than a placebo in treating the disorder.80 Other disorders
for which Neurontin was illegally promoted included various pain disorders,
anxiety disorder, social phobias, amyotrophic lateral sclerosis (ALS, a
degenerative nerve disease commonly referred to as Lou Gehrig's disease),
attention deficit disorder, migraine, drug and alcohol withdrawal seizures,
restless leg syndrome, and as a first-line monotherapy treatment for epilepsy
(using Neurontin alone, rather than in addition to another drug).81

39.   Warner-Lambert executives started exploring ways to expand the market
for Neurontin beyond the scope of its initial FDA approval soon after its


80 Pande AC, Crockatt JG, Janney CA, Werth JL, Tsaroucha G. Gabapentin in bipolar disorder: a placebo-

controlled trial of adjunctive therapy. Gabapentin Bipolar Disorder Study Group. Bipolar Disord. 2000;2:249-
55. [PMID:11249802].


81 Sentencing Memorandum of the United States, Section E; Information, united States of America v. Warner-

Lambert Company LLC, United States District Court, District of Massachusetts, May 13, 2004 (hereafter
“Information”) ¶¶ 8 - 10.



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launch.82 Warner-Lambert began seeking FDA approval for some indications,
such as monotherapy for seizures, pediatric adjunctive treatment for seizures,
and post-herpetic neuralgia. But FDA approval typically required expensive and
time-consuming, randomized controlled double-blind clinical trials, which
always carry the risk of demonstrating a negative (or inconclusive) effect.
Despite conducting clinical trials in the United States and abroad, neither
Warner-Lambert nor later Pfizer was ever to receive approval for Neurontin
monotherapy indications.83

40.    After evaluating the potential markets for other clinical uses, such as
treatment of bipolar disorder, painful diabetic neuralgia, and chronic pain,84
Warner-Lambert calculated that seeking FDA approval would not be worthwhile
because of the expense of clinical trials, the short remaining patent life for
Neurontin and the potential adverse impact on the sales of a new drug that
Warner-Lambert was developing.85 Warner-Lambert decided to promote off-
label uses of Neurontin even though off-label promotion is expressly prohibited
by the FDA.86



82 Information, ¶¶ 11-13; Sentencing Memorandum of the United States, pp. 13-17. See, e.g., Deposition of

John M. Knoop, United States v. Pfizer Inc., and Parke-Davis, Case No. 96-11651-PBS, September 25, 2002
(Knoop Deposition), pp. 27-28 and 225-255; Memorandum from Mi Dong to Neurontin (Anticonvulsant)
Development Team of 11/7/94, X029017-25; Memorandum from Mi Dong to Neurontin Development Team
of 1/19/95, X028970-75 at pp. X028974-75; Memorandum from Mi Dong to Neurontin Development Team
of 2/28/95, X028965-69 at X208969; Deposition of John Boris, United States v. Pfizer Inc. and Parke-Davis, Case
No. 96-11651-PBS, September 16, 2002 (Boris Deposition), pp. 17-21; and Marketing Assessment: Neurontin
in Psychiatric Disorders of 5/18/95, V090836-77.
83   Marino deposition, pp. 69-70.
84Information ¶¶ 11-16. See also: United States ex rel. Franklin v. Parke-Davis, 147 F. Supp.2d 39 (D. Mass.
2001), Exhibit 27. [Parke-Davis memo from Francie Kivel to “Distribution,” re: “Minutes from August 9,
1995 Neurontin Indications Decision Analysis Group Meeting”]; 29 August 1995: V049269-V049274 at 71.
(“The indications to be investigated in the first phase of this analysis will be neuropathic pain, social phobia,
panic, and bipolar disorders. ALS and spasticity will be examined subsequently.”)
85 The new drug was pregabalin. See, e.g., Memorandum from Mi Dong to Neurontin Anticonvulsant
Development Team of 3/16/95, X028957-62 at p. X028961; Memorandum from J. Pieroni to Anton,
Brandner, Cadre, Evans, Gemelli, Montgomery, and Summers of 3/22/95, V086787-92 at V086789;
Interoffice Memorandum from Pande to Boris of 3/23/95, X029226; Cover letter from Brandicourt to
Development Team of 7/31/95 with attached Marketing Assessment: Neurontin in Neuropathic Pain and
Spasticity of 7/24/95, WL 07524-47 at WL 07524; Memorandum from Boris to Neurontin Pharmaceutical
Sector Marketing Group of 7/31/96, V082736-61 at V082737; Marketing Assessment: Neurontin in
Psychiatric Disorders of 5/18/95, V090836-77; and Memorandum from Francie Kivel to J. Boris, O.
Brandicourt, E. Guerrero, J. Knoop, L. Magnus-Miller, and L. Perlow, October 26, 1995, V053848-77 at
V053853.
86 Information, ¶¶ 5, 19, 23-4, 27-8, and 34. See, e.g., Knoop Deposition, p. 35; and Deposition of James

Parker, United States v. Pfizer Inc., and Parke-Davis, Case No. 96-11651-PBS, May 17, 2002 (Parker Deposition),
pp. 136-37.



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41.    Warner-Lambert also encouraged the use of Neurontin at higher dosages
than those approved by the FDA. Neurontin was approved for dosages from 900
to 1800 mg, but doctors were encouraged to use larger doses of up to 4800 mg,
particularly for off-label uses, such as pain.87 Although Warner-Lambert
promoted the existence of a dose-response relationship for Neurontin,88 the
company had gathered substantial evidence that there was no clinical benefit to
higher dosages.89

42.    The strategy for the marketing and promotion of Neurontin for off-label
uses was sophisticated, comprehensive and well coordinated.90 Warner-Lambert
employed a range of marketing and promotional techniques to promote off-label
uses of Neurontin. Among them were the use of sale representatives,91 medical
liaisons,92 consultants meetings and advisory boards,93 and teleconferences.94

43.   During sales calls to doctors, Warner-Lambert sales representatives
encouraged doctors to prescribe Neurontin for a variety of off-label uses95 even
when there was no evidence to support claims of effectiveness or when studies
had shown that the drug was not effective.96 Free samples of Neurontin were
given to doctors to encourage them to prescribe Neurontin for off-label
treatments for new patients.97




87 See, e.g., AED Advisory Board Presentations of 11/8/95, 0008597-608 at 0008605; Memorandum from A.

Spalding to J. Knoop and A. Crook of June 12, 1996, X005384-86 at p. X005384; Neurontin 1996 SE CBU Plan,
W 003095-109 at p. W 003103.
88   WLC_FRANKLIN_0000038501-02
89See, e.g., Letter from Department of Health & Human Services, Food and Drug Administration, to Parke-
Davis of August 26, 1997; Memorandum form Mi Dong to Neurontin Development Team of November 30,
1995, X028920-24; Core Marketing Team Meeting 4/8-9/97 V047116-29 at V047121; and Parke-Davis
Memorandum to distribution of October 2, 1997 with attached Minutes of Core Marketing Team Meeting
V042352-63 at V042353.
90For comprehensive reviews, see, e.g., Sentencing Memorandum of the United States; Steinman et al., “The
Promotion of Gabapentin: An Analysis of Internal Industry Documents,” and Information.
91   Information, ¶¶ 20-22.
92   Information, ¶¶ 23-24.
93   Information, ¶¶ 25-32.
94   Information, ¶¶ 33-36.
95   Information, ¶¶ 20-22.
96See, for example, Memorandum from J. Rizzo to J. Knoop/E. Guerrero, of October 20, 1995 V091388-9 at
V091389.
97   See, for example, 1998 Strategic Plan and A&P Allocation Grid V063424-27.



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44.   Using outside contractors as well as its own staff, Warner-Lambert
organized meetings and events, including expensive dinners and conferences in
luxury hotels, to promote off-label uses and higher dosages for Neurontin to
doctors. At these events, both company representatives and paid consultants
made false claims about Neurontin, concealed negative studies, and failed to
present research findings in a balanced manner as required by regulations.98

         B.       Marketing Masquerading As Research: The Publications Strategy

45.    Research and publications on Neurontin formed the basis of the
marketing strategy for the drug.99 In some cases, such as monotherapy for
epilepsy, Warner-Lambert supported research into clinical uses for Neurontin to
further company efforts to obtain FDA approval for new indications. In others,
the company used “research” to promote unapproved uses for Neurontin, such
as neuropathic pain and bipolar disorders, which Warner-Lambert had
determined offered the greatest revenue potential.100

                  1.        Sponsored Research, Grants and Studies and Medical
                            Education and Communication Companies


98 See, e.g., Steinman et al., Emerging Applications in the Uses of AEDs, An Educational Proposal prepared

for Parke-Davis by Professional Postgraduate Services, September 6, 1996, V057651-92.
99 “Execute publication/educational plan and clinical trials program to support product expansion in
emerging uses . . . Execute publication/educational promotional plan to expand earlier Neurontin use for
epilepsy (i .e . monotherapy launch, QOL, data , STEPS, etc.)” United States ex rel. Franklin v. Parke-Davis, 147
F. Supp.2d 39 (D. Mass. 2001), Exhibit 40. Neurontin Northeast CBU [customer business unit] 1997: X001884-
X001900 at 85 and 98. “Execute publication/educational promotional plan to expand earlier Neurontin use
for epilepsy (i .e . montherapy launch, QOL data, STEPS, etc .)” Ibid., at 90 and 98.
100 “The advantages and disadvantages of various approaches to publication were discussed, ie, [sic] a
single, well-controlled study vs. two well-controlled studies vs./in addition to Phase IV programs, etc.. [sic]
It was also noted that we will publish negative study results, although it was noted that negative results
would only impact the epilepsy market if a major safety concern was evidenced (unlikely, <5% chance). It
was proposed that the options of the most interest in terms of this analysis would be investigating 1) the
impact of a single, well-controlled study, and 2) the impact of two well-controlled studies.” United States ex
rel. Franklin v. Parke-Davis, 147 F. Supp.2d 39 (D. Mass. 2001), Exhibit 27. [Parke-Davis memo from Francie
Kivel to “Distribution,” re: “Minutes from August 9, 1995 Neurontin Indications Decision Analysis Group
Meeting”]; 29 August 1995: V049269-V049274 at 70. “Bipolar disorders is the indication most favored for
future study based on expected NPV and the general location of the NPV distribution . . . While the median
NPV for neuropathic pain is approximately $34M less than for bipolar disorders ($76M vs $42M), the
maximum potential NPV is approximately $16M higher for neuropathic pain ($93M vs $77M). Revisions to
the forecast parameters resulted in a large shift in the NPV distribution for neuropathic pain. It may be
valuable to consider these parameters further if clinical investigation of neuropathic pain is to entirely
supplant the investigation of bipolar disorders.” United States ex rel. Franklin v. Parke-Davis, 147 F. Supp.2d
39 (D. Mass. 2001), Exhibit 29. [Parke-Davis memo from Francie Kivel to “Distribution,” re: “Neurontin
Indications Publication Analysis Report”]; 26 October 1995: V053848-V053877 at 52.




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46.    Using outside medical education and communication companies, Warner-
Lambert sponsored research,101 prepared journal articles based on and paid
researchers to put their names on those articles. These companies were hired to
write the articles and find the authors.102 Articles sponsored by a medical
education company tended to report favorable conclusions about Neurontin, but
the sponsorship was often not disclosed.103

            C.       Marketing Masquerading As Education: The Dissemination
                     Strategy

47.    “Medical education drives this market!!”104 noted one Warner-Lambert
business plan. Educational activities traditionally considered independent of
marketing activities were used to promote Neurontin. Among them were
teleconferences, accredited continuing medical education, sponsored educational
meetings and conferences, advisory boards and consultants meetings, and
medical liaisons.105

                     1.       “Peer-to-Peer Selling”

48.  Warner-Lambert recruited physicians who had the potential to influence
Neurontin prescribing behavior among their colleagues to serve as speakers in



  Steinman et al., pp. 288-290 (includes example of STEPS (Study of Neurontin: Titration to Effectiveness
101

and Profiles of Safety) involving more than 700 physicians who enrolled an average of three patients each
and received a $300 payment for each patient enrolled)
102 “I am writing to provide you with both editorial status and billing status of the manuscripts we have
been developing for the Northeast Customer Business Unit of Parke Davis for 1996 . . . these physicians are
clinicians rather than academicians or Researchers . . . Enclosed please find a list of our work in process for
you, along with a detailed status report on each.” United States ex rel. Franklin v. Parke Davis, 147 F. Supp.2d
39 (D. Mass. 2001), Exhibit 64. [Letter from Jacki Gordon (AMM/Adelphi, Ltd) to Phil Magistro (Parke-
Davis), re: development of manuscripts for Parke-Davis Northeast Customer Business Unit]; 8 November
1996:X005102-X005110 at 102. “We anticipate that by year's end, you will have several manuscripts
submitted to journals as well as either a paper or poster accepted for the AAN.” Ibid. at 105. Two marketing
firms were offered $12,000 for each of 12 journal articles that they prepared. (Liz Kowalczyk, “Use of Drug
Soars Despite Controversy,” Boston Globe, November 25, 2002, A1, Pfizer_LKnapp_0091179-82 at 81;
Melody Peterson, “Suit Says Company Promoted Drug in Exam Rooms,” New York Times, May 15, 2002,
C1. The company also apparently paid academic “authors” $1000 to sign them. (Melody Peterson, “Suit Says
Company Promoted Drug in Exam Rooms,” New York Times, May 15, 2002, C1.) See V06967326 at 74:
“author interested; still playing phone tag. … [OUR COMPANY] HAS DRAFT COMPLETE, WE JUST
NEED AN AUTHOR.” (cited in Liz Kowalczyk, “Drug Company Pushed on Doctors Disclosed,” Boston
Globe, May 19, 2002, A1.) See also Steinman footnotes 92-98.
103   Steinman et al., "Promotion of Gabapentin", page 289.
104   Neurontin 1996 SE CBU [customer business unit] Plan: WLC_CBU_038946.
105   See Information, ¶¶ 19-36



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“peer-to-peer selling” programs.106 These included local champions, who were
seen as “one of the most effective ways to communicate our message,”107 and
“opinion” or “thought leaders,” who were influential physicians affiliated with
major medical centers.108 Many of these leaders received substantial payments in
honoraria, research grants, or educational grants.109

                     2.        Continuing Medical Education, Sponsored Educational
                               Meetings and Conferences

49.    Warner-Lambert conducted teleconferences with paid physician monitors
and small groups of physicians.110 Although presented as educational events,111
an internal company memo noted that “the key goal of the teleconferences was to
increase Neurontin new prescriptions by convincing non-prescribers to begin
prescribing and current prescribers to increase their new prescription
behavior.”112

50.    Doctors were recruited and trained as Neurontin advocates at speaker
bureaus and related physician-to-position programs.113 To improve “public
relations within the neurology community, etc., as well as [to impact] the volume
of Neurontin new prescriptions,” Warner-Lambert created a lecture series.114

51.  In addition to directly sponsoring medical educational events, Warner-
Lambert funded “unrestricted educational grants” to medical education and
communications companies that create physician conferences on behalf of

106See V058083-95, Northeast CBU 1997 Situation Analysis, 31 May 1996. See also Steinman footnote 19,
“Business Strategies to Penetrate the Hospital Segment of the Northeast Consumer Business Unit”; “1998
Neurontin Tactics (Prepared by Cline, Davis & Mann) 30 July 1997” X005926-50; “Neurontin Northeast CBU
1997” X001884-900.
107   See V058083-95 at 91, “Northeast CBU 1997 Situation Analysis”, 31 May 1996.
108“in two documents Parke-Davis identified 40 potential follow leaders in the northeastern United States,
including 26 current or future department chairs, vice chairs, and directors of academic clinical programs or
divisions.” (Steinman et al., page 285);
109Steinman et al., pp. 285 – 286 and and footnote 11. (“Of [40 potential thought leaders], 35 participated in
at least one Parke-Davis-sponsored activity, including 14 who requested or were allocated $10 205 to $158
250 in honoraria, research grants, or educational grants between 1993 and 1997.”)
110 Steinman et al., page 286, Information, to pages 11-12. Warner-Lambert also set the agenda and
surreptitiously monitored the teleconferences in some cases. (Steinman et al., based 286; Steinman footnotes
35, 36, 37,11,33)
111   Steinman et al., footnote 33
112   Steinman et al., footnote 34
113   Steinman et al., page 286 (Steinman footnotes 19,25, 26, 28,38)
114   Steinman et al., page 286, (Steinman footnotes 26, 28,38)



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pharmaceutical companies and are often subsidiaries of marketing firms.115
Because the grants were “unrestricted,” Warner-Lambert officially relinquished
control over the program, allowing speakers and participants to discuss
unapproved uses of Neurontin and for participants to receive continuing medical
education credit from the Accreditation Council of Continuing Medical
Education (ACCME), which was not permitted for events directly sponsored by
Warner-Lambert.116 In practice, Warner-Lambert influenced the content as well as
the selection of speakers and participants to promote off label uses of Neurontin
at some of these events.117 The company also tracked doctor’s prescriptions to see
if they prescribe Neurontin more after the meetings or after they were hired to
speak about the drug.118

52.    Unrestricted grants also paid for the costs of doctors to attend conferences
and funding 75,000 copies of epilepsy handbook to high prescribers of
anticonvulsant agents. 119

                      3.        Advisory Boards and Consultants Meetings

53.    Warner-Lambert promoted off label uses of Neurontin through advisory
boards and consultants meetings, 120 whose faculty may have been vetted by the
company.121 Warner-Lambert reserved the right “to probe the faculty further to
definitively establish presentation contents and make the appropriate changes
and/or recruited alternate speaker”122 [Memo from Bina O’Brian, 24 June 1997 56]

54.       Participants at one meeting were selected based on their high prescription
rates 123  and “were delivered a hard-hitting message about Neurontin.”124
Company sales representatives tracked their prescribing behavior before and
after the event.125


115   Steinman et al., page 287, (Steinman footnotes 41-44)
116   Steinman et al., p. 287 (Steinman footnotes 45-48)
117   Steinman et al., p. 287-288 (Steinman footnotes 32,49,51, 56-59, 61, 63)
118   See, e.g., Steinman et al., p. 287-288.
119   Steinman et al., p. 288.(Steinman footnotes 64, 65)
120   Information, ¶¶ 25-32. Steinman et al., p. 288.
121   Steinman et al., p. 284 (Steinman footnote 56)
122   Steinman et al., p. 288 (Memo from Bina O’Brian, 24 June 1997 as cited in Steinman footnote 56)
123   Steinman et al., p. 288 (Steinman footnote 17 )
124   Steinman et al., p. 288 (Steinman footnote 71)
125   Steinman et al., p. 288 (Steinman footnote 70)



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55.    Participants received honoraria and paid travel, lodging, and amenities at
the resorts of luxury hotels where the events were occurred.126 Some faculty
participants also received honoraria and grants for participating127 and may have
been vetted in advanced by Warner-Lambert for favorable views of Neurontin.128

56.    Company reserves the right “to probe the faculty further to definitively
establish presentation contents and make the appropriate changes and/or
recruited alternate speaker.”129

                      4.       Medical Liaisons

57.   Medical liaisons are meant to be neutral, scientific experts on a drug
company’s products.130 Although sales force representatives are not permitted to
promote off-label uses of the drugs they sell, the FDA does allow drug company
medical liaisons to provide balanced, truthful information regarding off-label
usage in response to an unsolicited, specific request from a doctor. Warner-
Lambert used medical liaisons to promote Neurontin for unapproved uses.131

                      5.       Targeting Residents

58.   In an effort “to influence physicians from the bottom up” and “to solidify
Parke-Davis’ role in residents’ mind as he/she evolves into a practicing
physician,”132 the Warner-Lambert targeted residents with, among other things,


126Steinman et al., p. 288, Steinman footnotes 51 (Letter from Timothy Lynch, 20 August 1996), 52
(“Neurology Update: Anticonvulsants-Original Consultants Meeting, Boston”), 71-76( Jupiter Beach, Atlanta
and other meetings)
127   Steinman et al., p. 288 (Steinman footnotes 11, 52, 71, 73)
128 Steinman et al., p. 288, Steinman footnote 56 (“it is [our] policy to complete a literature search to
determine who will author is favorable articles on the topics outlined” [Memo from Bina O’Brian, 24 June
1997); Company reserves the right “to probe the faculty further to definitively establish presentation
contents and make the appropriate changes and/or recruited alternate speaker” [Memo from Bina O’Brian,
24 June 1997]
129
      Memo from Bina O’Brian, 24 June 1997
130   Sentencing Memorandum of the United States, Page 11.
131   Information, ¶ ¶ 23-24. One Warner-Lambert Medical Director put it this way:

            What we’d like you do is, anytime you’re called out just make sure that your main focus
            out of what you’re doing is on Neurontin … When we get out there, we want to kick some
            ass, we want to sell the Neurontin on pain. All right? And monotherapy and everything
            that we can talk about, that’s what we want do.

Information, ¶ 24.
132Business Strategies to Penetrate the Hospital Segment of the Northeast Consumer Business Unit from
Steinman footnote 24



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“resident programs,” a video case series and a “CNS [central nervous system]
residence course.”133


       VII.          Marketing Neurontin in the Pfizer Era (2000 – 2004)

After acquiring Warner-Lambert in June 2000, Pfizer appears to have continued
the publication strategy and off-label promotion initiated by Warner-Lambert’s
Parke-Davis subsidiary. Pfizer’s marketing and promotional efforts, like those of
Warner-Lambert before it, were significant contributing factors to the off-label
sales of Neurontin.

            A.       Pfizer Continued the Off-Label Promotion of Neurontin

59.    Like Warner-Lambert, Pfizer had strong economic incentives to continue
promoting off-label uses of Neurontin. Pfizer company documents, business
plans and marketing plans reveal that sales for epilepsy were declining and
constituted only about 10 percent of all Neurontin sales,134 that the majority of
Neurontin sales were for unapproved uses, and that unapproved uses for
Neurontin presented the largest and most attractive markets.135 Even though
approved uses of Neurontin comprised less than 15 percent of its total sales,
Pfizer set and met ambitious goals for Neurontin sales growth that could not
reasonably be met by growth in approved uses alone.136

60.     An analysis of Pfizer’s marketing budgets for Neurontin confirms the
importance of its off-label sales. Pharmaceutical companies typically spend most
of their marketing budgets on sending the sales representatives to visit doctors.
Pfizer apparently spent the largest share of its Neurontin marketing budget on
medical education.137 This is consistent with Pfizer’s alleged strategy of
promoting off-label uses for Neurontin. Although drug company sales
representatives are prohibited from discussing unapproved drug uses in sales
calls, off-label uses can be discussed at independent medical education events.

133   Strategic Plan and A&P Allocation Grid, 27 August 1997 from Steinman footnote 13
134Sales of Neurontin for adjunctive epilepsy therapy were its only approved use until its approval for
postherpetic neuralgia in 2002.
135In an internal Pfizer slide presentation, the question was asked, “Knowing what we know now, and if we
could start all over in the US, how might the US develop Neurontin?”, and the presentation’s answer is that
the only indication for Neurontin Pfizer would “[p]robably not” pursue is epilepsy. Pfizer_LTive_0006484-
97, at Pfizer_LTive_0006490.
136   Marino Deposition, pp. 382-88, 529-31.
137Compare Neurontin 2001 U.S. Operating Plan, Pfizer_RGlanzman_0000669 (Medical Education $38.0
million for 2001 LE and $28.3 million for 2001 BUD) with Neurontin 2001 Operating Plan,
Pfizer_LTive_0008259 (Field Force $16 million for 2001 LE).


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61.    Evidence shows that to meet these goals, Pfizer continued the publication
strategy, continued to suppress and delay publication of clinical studies and data
regarding Neurontin‘s lack of efficacy, and continued to promote articles
advocating Neurontin for unapproved uses without disclosing that Neurontin
was not effective for those uses. The Neurontin 2001 U.S. Operating Plan, for
example, identified a key issues as the “Unsatisfied Market in Emerging Uses” –
that is, unapproved, off-label uses138 – and proposed to “Meet Demand for
Medical Education from Medical Community” as a strategic response.139

62.     One example of the suppression and delay in publication of a negative
clinical study concerns a failed diabetic peripheral neuropathy trial (study 945-
224) conducted by Dr. Reckless in the United Kingdom.140 Concerns that these
results would damage Neurontin sales both for diabetic peripheral neuropathy
and neuropathic pain generally apparently led Pfizer to suppress the Reckless
study by delaying its publication141, to preclude Dr. Reckless from writing the
article himself, to hire an outside consulting firm to cast his study in a more
favorable light142, and, in the end, to withdraw support for the article.

63.    To produce and manage publication of journal articles about Neurontin
and its off-label uses, Pfizer engaged Medical Action Communications, Inc.
(MAC). One goal was to increase the number of off-label publications, according
to company documents. Of 12 manuscripts published in 2001, MAC reported
that 5 pertained to epilepsy, 4 to neuropathic pain and one to substance abuse,
the last two being unapproved uses for Neurontin.143 For 2002, Pfizer planned to

138   Emerging uses means unapproved or off-label uses. Marino deposition, pp. 119 – 120, 194.
139   Neurontin 2001 U.S. Operating Plan, Pfizer_RGlanzman_00000677.
140 Another example of a negative study that was delayed by Pfizer is the POPP study. See
Pfizer_JMarino_0000703-4, Pfizer_JMarino_0000809, and Pfizer_RGlanzman_0134501-3.


141 From E-mail of John Marino, Pfizer Neurontin World Wide Team Leader: “We must delay the
publication of -224, as its result were not positive (sic).” Pfizer_LCastro_0002678-82, at
Pfizer_LCastro_0002680.    See also,   Pfizer_JMarino_0000809, Pfizer_LeslieTive_0020985-6 and
Pfizer_LeslieTive_0080783-4.


142“I think that we can limit the potential downsides of the 224 study [Reckless Study] by delaying the
publication for as long as possible and also from where it is published. More importantly it will be more
important to how WE write up the study. We are using a medical agency to put the paper together which
we will show to Dr Reckless. We are not allowing him to write it up himself.” (Emphasis in original.)
Pfizer_LeslieTive_0020985-6.


143   Neurontin Publication Subcommittee Current Status and 2002 Plans 09-January 02, Pfizer_SDoft_0026365.



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increase the number of manuscripts published, submitted or planned for
submission to 17, of which 4 related to epilepsy, 7 to neuropathic pain, 3 to
movement disorders, and one each to migraine and hot flashes.144

64.     Pfizer’s marketing plans set out goals for the dissemination of sponsored
articles and research to doctors at scientific meetings, conferences, and
continuing medical educational events.145 To achieve its goals, Pfizer continued to
engage outside medical education communications companies to identify and
promote “key messages”146 in articles and presentations about Neurontin to
target audiences.147 As John Marino, Pfizer’s Worldwide Team Leader for
Neurontin, admitted, “[i]t’s tough to distinguish” marketing tactics from medical
education programs.148

65.    Pfizer apparently continued to suppress clinical information and data
regarding Neurontin’s lack of efficacy. From the clinical trials conducted by Dr.
Reckless149 and Dr. Gorson150, Pfizer was aware that Neurontin was ineffective for
neuropathic pain. Pfizer was also aware that Neurontin was ineffective for
neuropathic pain from internal consultant meetings.151 Yet, rather than listening
to the consultant physicians’ feedback, the Neurontin team rewrote the minutes
of the meetings152 to “support [their] case”153 for pursuing the use of Neurontin
for neuropathic pain. Pfizer was aware that Neurontin was ineffective for
nociceptive pain.154



144   Neurontin Publication Planning 2003: Introduction by Alison Fannon, Pfizer_AFannon_0002934.
145   See, e.g., Neurontin Publication Planning 2003: Introduction by Alison Fannon, Pfizer_AFannon_0002912-
67.
146 See, e.g., Neurontin Publication Subcommittee Current Status and 2002 Plans 09-January 02,
Pfizer_SDoft_0026347-49; Pfizer_LTive_0009300-27.
147“The Challenge … Ensure consistent implementation of key medical and marketing messages in support
of Neurontin for each target indication with the various target audiences.” Neurontin Publication
Subcommittee Current Status and 2002 Plans 09-January 02, Pfizer_SDoft_0026340. See also Neurontin
Publication Subcommittee Current Status and 2002 Plans 09-January 02, Pfizer_SDoft_0026346.
148   Marino deposition, p. 186.
149   Pfizer_LCastro_0002678-82, Pfizer_JMarino_0000809 and Pfizer_LeslieTive_0020985-6.
150   Marino deposition, pp. 243-246.
151   Pfizer_LKnapp_0009569-73, Pfizer_JMarino_0000363-7, and Pfizer_JMarino_0000153-7.
152   Pfizer_JMarino_0000153-7 and Pfizer_LKnapp_0070556-8.
153John Marino wrote to Steve Piron in an E-mail after a Pfizer Global Development Review Committee
meeting about Neurontin: “Now it looks like we have to rewrite the minutes to support our case. Want to
take a shot at it?” Pfizer_JMarino_0000153-7, at Pfizer_JMarino_0000153.
154   Marino deposition, pp. 246-247.



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              B.     Health & Human Services Determinations that Pfizer’s
                     Representations About Neurontin Are False And Misleading

66.      An example of Pfizer’s inappropriate, off-label promotion of Neurontin
was identified by the FDA’s Division of Drug Marketing, Advertising and
Communications (DDMAC).155 On July 1, 2002, Dr. Lisa L. Stockbridge, PhD., a
Regulatory Reviewer at DDMAC, notified Pfizer that certain Neurontin
marketing material was “in violation of the Federal Food, Drug and Cosmetic
Act . . . because [Pfizer] makes representations about Neurontin that are false and
misleading.”156 Specifically, DDMAC objected to Pfizer marketing material
suggesting 1) that the mechanism of action of Neurontin in the human brain had
been established when this was false, as the mechanism by which Neurontin
worked was unknown; 2) that “Neurontin is useful for a broader range of CNS
[central nervous system] conditions that has been demonstrated by substantial
evidence”; and 3) that “Neurontin can be used as monotherapy for various CNS
disorders” when Neurontin was only approved as adjunctive therapy in the
treatment of partial seizures and adult and pediatric patients.157 Because these
representations about Neurontin were false or misleading, DDMAC requested
that Pfizer “[i]mmediately discontinue the use of [these] and any other
promotional material with the same or similar issues.”158


       VIII.         Effects of Neurontin Off-Label Marketing Strategy

67.   Even if Pfizer had done nothing to promote unapproved uses of
Neurontin after it acquired Warner-Lambert, sales of Neurontin for unapproved
uses would have continued. Successful marketing, in general, and
pharmaceutical marketing, in particular, has long term effects. The creation of a
successful brand image leads to sales even after promotion stops.

              A.     Marketing Effects Are Long-Lived

                     1.       Evidence from Academic Studies

68.    The effect of marketing on drug sales has been widely studied over the
years. Empirical studies have investigated the responsiveness of drug sales to


155Lisa Stockbridge Letter, dated July 1, 2002, Pfizer_LCastro_0074739-40. For another example, see Lisa
Stockbridge Letter, dated June 29, 2001, Marino Exhibit 45, Pfizer_RGlanzman_0054596-609.
156   Lisa Stockbridge Letter, dated July 1, 2002, Pfizer_LCastro_0074739-40.
157   Ibid.
158   Ibid. at Pfizer_LCastro_0074740.



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both the drug company and its competitors marketing expenditures. Examples of
recent research include work by Berndt et al. (1995), Gonul (2001), King (1997),
Manchanda et al. (2000), and Rizzo (1999). 159 Some of these studies use aggregate
data while others rely on physician-specific data. The results of this research
show that sales calls and free samples have significant positive effects on the
number of prescriptions for a drug.

69.     Although specific results vary across drugs and studies, the response of
drug sales to promotional activities is well established. Multiple academic
studies also show that the effects of marketing and promotional are long-lived,
with estimated depreciation rates for marketing and promotional stocks near
zero.160 Once doctors learn about a drug and are motivated to try it, they tend to
remember and stay with the drug.

                     2.     Evidence from Sales Calls

70.     An analysis of company sales call data reveals the effect these calls had in
promoting off-label uses of Neurontin. I understand that psychiatrists have little
reason to prescribe Neurontin to their patients for its approved uses and that
nearly all prescriptions written by psychiatrists for Neurontin will therefore be
for off-label uses.

71.   For sample of 832 psychiatrists, company sales call records were matched
with their history of Neurontin prescriptions.161 Figure 9 shows that both new

159 See, e.g., E.R. Berndt, L. Bui, D. Reiley and G. Urban, “Information, Marketing and Pricing in the U.S.

Anti-Ulcer Drug Market,” American Economic Review, Vol. 85, No. 2, pp. 100-105, May 1995 (cumulative
spending on both medical journal and physician detailing increases drug sales and market-expanding
promotion (e.g., marketing that increases awareness of the existence of a new use for a drug) depreciates
slowly); F. Gonul, F. Carter, E. Petrova and K. Srinivasan, “Promotion of Prescription Drugs and Its Impact
on Physician Choice Behavior,” Journal of Marketing, 65:3, pp. 79-90, 2001; C. King, III, “Marketing, Product
Differentiation and Competition in the Market for Antiulcer Drugs,” Boston MA: Harvard Business School
Working Paper No. 01-014, 2000 (http://papers.ssrn.com/sol3/papers.cfm?abstract_id=891128); P.
Manchanda, and P. Chintagunta, “Responsiveness of Physician Prescription Behavior to Salesforce Effort:
An Individual Level Analysis”, Marketing Letters, Vol. 15, July 2004, pp. 129-45; J. Rizzo, “Advertising and
Competition in the Ethical Pharmaceutical Industry: The Case of Antihypertensive Drugs,” Journal of Law
and Economics, 42:1, pp. 89-116, 1999 (both stocks and flows of sales force expenditures reduced price
sensitivity over time because promotional expenditures create greater brand loyalty).
160   See footnote 158.
161For 832 psychiatrists in the available data, it was possible to find an exact match between the company
sales call record for the psychiatrist and the prescription record for that psychiatrist based on first name, last
name, street address, and ZIP code for the entire period for which complete data were available, June 1997
through June 2004, when generic competition entered the market for Neurontin. These 832 psychiatrists
represent 3.5% percent of the 23,917 psychiatrists in the sales call data. It is not possible, to determine the
proportion these prescriptions represent relative to all prescriptions written by all psychiatrists given the
available data.



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and total Neurontin prescriptions for these doctors increased after they received
sales calls. The figure also shows that these doctors continued to prescribe
Neurontin years after receiving their last sales call, revealing the long-term
effects of pharmaceutical marketing.

72.    Figure 9 shows that psychiatrists continued to write prescriptions for
Neurontin even after Pfizer initially stopped sales calls to psychiatrists in 2001.
Pfizer resumed sales calls to psychiatrists, although at a lower rate, in 2002, after
Pfizer received approval for the postherpetic neuralgia indication for Neurontin.
I understand that this is also not a condition likely to be treated by psychiatrists
and that their prescriptions were likely to be off-label prescriptions, as were the
bulk of Neurontin sales.


Figure 9: Sales Calls to Psychiatrists are Correlated with Increases in New and
Total Prescriptions

                                   Sales Calls to Psychiatrists Associated with Increases in New and Total Prescriptions

                          1,600                                                                                                16,000


                          1,400                                                                                                14,000


                          1,200                                                                                                12,000




                                                                                                                                           Number of Prescriptions
  Number of Sales Calls




                          1,000                                                                                                10,000


                           800                                                                                                 8,000


                           600                                                                                                 6,000


                           400                                                                                                 4,000


                           200                                                                                                 2,000


                             0                                                                                                 0
                          Ju 8




                          Ju 9




                          Ju 0




                          Ju 1




                          Ju 2




                          Ju 3




                          Ju 4
                          Se 97
                          De 97
                          M 97


                          Se 98
                          D 98
                          M 98


                          Se 99
                          D 99
                          M 99


                          Se 00
                          D 00
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                          Se 01
                          De 01
                          M 01


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                          M 03


                                04
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                                                                           Year

Source: Data provided by Keith Altman, Finkelstein and Partners                   Sales Calls   New Prescriptions    Total Prescriptions




                              B.      Pervasive Influence of Neurontin Marketing




                                                                           41
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73.    As demonstrated by the numbers of articles published about Neurontin,
the sales calls, and the medical education events sponsored by Pfizer, Neurontin
was a well-known and well-promoted drug.

                             1. Neurontin Publications

74.     A simple count of the number of articles in the medical literature that
mention either Neurontin or gabapentin reveals the growth and prevalence of
Neurontin publications in the medical literature. Figure 10 presents the number
of articles that contain the words Neurontin or gabapentin, or both, for each year
from 1994, when Neurontin was first sold, to 2004, when generic versions of
Neurontin entered the market, in the PubMed database, a standard reference.

75.    From 1994 to 2000, the number of articles mentioning either Neurontin or
gabapentin increases from under 50 per year to nearly 190 per year. After Pfizer
takes over, the rate grows from 186 to 255 per year. Of the 1,674 articles from this
period, the majority are published during the Pfizer era.

Figure 10: Large Increases in Medical Literature Mentioning Neurontin or
Gapapentin



                                                    Medical Publications on PubMed


                       300




                       250




                       200
  Number of Articles




                       150




                       100




                        50




                        0
                              1994   1995   1996   1997    1998         1999       2000         2001   2002   2003   2004

                                                           Mentioning Neurontin or Gabapentin




                                                                   42
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76.    But many more were published worldwide. According to John Marino,
Pfizer’s Worldwide Team Leader for Neurontin, there were “8,000 publications
done on [Neurontin] in the past decade … a substantial number.”162 Publications
were one of “a variety of mechanisms [through which] word about unapproved
indications was circulated,” he said.163

            2. Sales Calls

77.    Given the number of sales calls that Pfizer proposed in its 2002 business
plan, Pfizer would have reached large numbers of doctors. The business plan
projects that Pfizer sales representatives would reach the majority of primary
care physicians, neurologists, rheumatologists, and orthopedists, in addition to
considerable percentages of other physician specialties.164 The total sales call
effort was estimated to reach 31% of all doctors. 165

78.    Figure 10 presents the total number of Neurontin sales calls made each
month from January 1999 through May 2004. As the graph shows, the number of
Pfizer sales calls beginning at the end of 2002 greatly exceeds those made by
Warner-Lambert from 1999 to 2000.




162   Marino deposition, p. 251.
163   Marino deposition, p. 251.

  Chart shows 2002 proposed detailing levels to cover 57% of the primary care physician universe, 64% of
164

neurologists, and 69% of rheumotologists/orthopterists. Pfizer_LTive_0008275-92, at Pfizer_LTive_0008284.
165   Pfizer_LTive_0008284



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Figure 10: Number of Neurontin Sales Calls in 2003 Exceeds Number of Calls
Between 1999 and 2000

                                                             Neurontin Sales Calls
                                   160



                                   140



                                   120



                                   100
              Sales Calls (000s)




                                   80



                                   60



                                   40



                                   20



                                    0
                                   19 01

                                   19 4

                                   19 07

                                   20 10

                                   20 01

                                   20 04

                                   20 7

                                   20 10

                                   20 01

                                   20 04

                                   20 7

                                   20 10

                                   20 1

                                   20 04

                                   20 07

                                   20 10

                                   20 1

                                   20 04

                                   20 7

                                   20 10

                                   20 01

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                                      03

                                      03

                                      04

                                      04
                                   19




  Source: Data provided by Keith Altman, Finkelstein and Partners     Month




          3. Medical Education Programs and Conferences


79.    Pfizer intended to reach and educate large numbers of doctors about
emerging, or off-label, use of Neurontin through its medical education programs,
as shown in Attachment C,

    C. Indirect Influences

80.     Most doctors likely would never have heard of Neurontin but for the off-
labeling marketing efforts of Warner-Lambert and allegedly Pfizer. The inability
to prove that Warner-Lambert or Pfizer contacted a doctor directly does not
mean that that doctor was not influenced by Warner-Lambert and Pfizer
marketing efforts. Pfizer’s off-label marketing of Neurontin indirectly influenced
all, or substantially all, doctors prescribing Neurontin in one of two ways. First, a
doctor who did not have direct contact with Pfizer most likely was influenced in
his prescribing habits by one who did. Second, all, or substantially all, doctors
were indirectly affected by Pfizer’s suppression of negative or adverse
information about Neurontin that would have affected their prescribing habits.




                                                                    44
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81.    It seems unlikely that a responsible doctor who was never heard of
Neurontin would prescribe Neurontin for an off-label use without first
consulting the medical and scientific literature, a colleague, or a medical
reference work. I understand that to do so would be part of the doctor’s
professional and ethical responsibility.

82.     Doctors work in an environment where informal communications among
fellow doctors, or “word-of-mouth,” play an important role in the dissemination
of information about drugs and treatments. Colleagues are generally perceived
as credible, independent, and reliable sources of information. Studies have
shown that doctors learn extensively from and draw upon their colleagues’
clinical experiences.166 Indeed, academic research has found that “the source most
influential and encouraging first prescribing [a] new drug … [is] colleagues.”167

83.   The academic literature has shown that social interactions among doctors
can influence their prescribing behavior. Berndt et al., for example, find that
brand-level network effects affect the rate at which a drug diffuses into the
market. Widespread use of a drug implicitly conveys important information
about its safety and efficacy, which increases word-of-mouth communications
and accelerates the rate at which others become aware of and adopt the drug.168

84.    Even doctors who did not receive visits from Neurontin sales
representatives were more likely to prescribe Neurontin off-label because of
indirect influences of Neurontin’s extensive promotional efforts. The reason is
that Neurontin promotional plans targeted the two areas physicians rely on most
heavily for their information: publications and colleagues.169 Thousands of papers
were published about Neurontin (gabapentin),170 which would have made it hard

  Dale D. Christiansen and Albert J. Wertheimer (1979), “Sources of Information and Influence upon New
166

Drug Prescribing among Physicians in an HMO,” Soc. Sci. & Med., pages 313-322; Harikresh Nair, Puneet
Manchanda, Tulidaa Bhatia, “Asymmetric Peer Effects in Physician Prescription Behavior: The Role of
Opinion Leaders,” Stanford Working Paper.



  Dale D. Christiansen and Albert J. Wertheimer (1979), “Sources of Information and Influence upon New
167

Drug Prescribing among Physicians in an HMO,” Soc. Sci. & Med., pages 313-322.

  Berndt, Pindyck and Azoulay, “Consumption Externalities and Effusion in Pharmaceutical Markets:
168

Antiulcer Drugs,” The Journal of Industrial Economics, June 2003, 243-270.
169A meta-analysis of twelve papers looking at physician preferences for information sources found that
“physicians prefer to obtain information from journals and books, but also that they often consult colleagues
to get answers to clinical and research questions.” James Haug, “Physicians' preferences for information
sources: a meta-analytic study”, Bull Medical Library Association, Vol.85, July 1997.


  “As I mentioned, there were thousands and thousands, I think it was 8,000 to be exact, publications done
170

on gabapentin in the past decade. It was a substantial number of publications that were created for


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for a physician to not have heard about the product. The makers of Neurontin
were well aware of these social networks171 and hoped to exploit them through
their marketing efforts.172

85.    The widespread use of Neurontin173 would further encourage doctors who
may not have had direct contact with the drug company to prescribe the drug,
because “widespread use of a drug may convey information about its safety and
efficacy, and, for physicians, may imply ‘accepted practice’ and hence greater
immunity to malpractice lawsuits. … [This] could lead to the dominance of one
drug - not necessarily the most efficacious or safest - despite the availability of
close substitutes.”174 This idea of high prescription volume signaling safety may
have been especially relevant for Neurontin.175 More important, as Neurontin
sales increased year-over-year (See Figure 7), the indirect influences would have
become stronger,176 encouraging physicians to prescribe Neurontin, regardless of

gabapentin, both independently, as well as within Pfizer, as well as Parke Davis.” Deposition of John
Marino (Marino Deposition), p. 251.


  Q. As a Worldwide Team Leader for Neurontin and marketing of Neurontin, is it your expectation that
171

physicians talk to one another regarding their prescribing practices?
A. It's a natural medical practice for physicians to speak to each other about their prescribing
habits and recommendations and decisions.
Marino Deposition, p.525.


172  “Q. Is it your desired outcome as the Marketing Director, Worldwide Team Leader for Neurontin that
when you distribute a marketing piece to a physician, that that physician shares that with a fellow physician
in their practice?
A. In terms of promotional messages that are delivered by sales reps, yes, that would be the case.” Marino
Deposition, p.526.



  In 2000, Neurontin passed $1 billion in annual sales becoming an official block-buster drug (See Figure 7),
173

and in 2003, Neurontin ranked 10th in U.S. sales (Drugs.com, http://www.drugs.com/top200_2003.html).


  Berndt, Pindyck, and Azoulay, “Consumption Externalities and Diffusion in Pharmaceutical Markets:
174

Antiulcer Drugs”, The Journal of Industrial Economics, June 2003, 243-270.


175 At the 2002 Pfizer Expert Meeting, the panel concluded, “The success of gabapentin is not due to its
efficacy, it is less efficacious than Tricyclic antidepressants (TCA), but is due to a more acceptable side effect
profile.” Pfizer_LKnapp_0070537-44, at Pfizer_LKnapp_0070539.


  “As more people use the product, word-of-mouth communication increases, accelerating the rate at
176

which others become aware of it.” Berndt et al. (2003), Op. cite., p.244.




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whether or not they had direct contact with the company or received sales calls
from Neurontin sales representatives.

86.    Given the high levels of detailing proposed by Pfizer in 2002,177 it is
unlikely that a doctor would be completely unaware of Neurontin, especially in
the specialties where Pfizer most heavily promoted Neurontin. Pfizer’s
Neurontin sales representatives visited the majority of primary care physicians,
neurologists, rheumatologists, and orthopedists.178 Since doctors share
information179 and rely on each other for new information, 180 any doctor who did
not receive a personal visit would likely learn about Neurontin through a
colleague who was visited.

87.    Because it was perceived as “safe and efficacious”, Neurontin was listed
on nearly all formularies.181 Neurontin’s formulary status would have also
created indirect influences encouraging prescriptions. If a doctor had a patient in
need of treatment for one of the numerous off-label conditions for which Warner-
Lambert and Pfizer promoted Neurontin, the physician may have prescribed
Neurontin simply because it was on formulary, without ever having been
personally contacted by the company or its sales representatives promoting
Neurontin.

            D.       Failure to Disclose Negative Information About Neurontin

88.    John Marino, Pfizer’s Worldwide Team Leader for Neurontin, testified
that Pfizer has an obligation to share negative results of its exploratory studies
with the medical community182 and that this was the practice at both Warner-


177   See Pfizer_LTive_0008275-92.
178   Pfizer_LTive_0008284.
179   Marino acknowledges that physicians discuss their prescribing with one another.
            Q. As a Worldwide Team Leader for Neurontin and marketing of Neurontin, is it your
            expectation that physicians talk to one another regarding their prescribing practices?
            A. It's a natural medical practice for physicians to speak to each other about their
            prescribing habits and recommendations and decisions.”
            Marino deposition, p. 525.
180 Haug, James, “Physicians' preferences for information sources: a meta-analytic study”, Bull Medical
Library Association, Vol.85, July 1997.
181“Neurontin is already on almost all formularies. Neurontin is perceived as safe and efficacious.” Pfizer
Neuropathic Pain PBM Advisory Board Executive Summary March 2002 (Pfizer_CGrogan_0005992-6002 at
005995)


182   Marino deposition, p. 239.



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Lambert and Pfizer.183 To suppress or delay a negative study would be
misleading and would not present a fair and balanced view, according to Mr.
Marino.184 “The pharmaceutical company’s responsibility is to help teach
physicians about the risk/benefit profile of appropriate therapies for treatment,”
including a full explanation of what the risks are, Mr. Marino further testified.185

89.   Yet Pfizer allegedly took no affirmative action to disclose what it knew
about problems with Neurontin. Pfizer never sent out “Dear Doctor” letters186
informing doctors about the negative side-effects of Neurontin.187

90.    Having spent considerable time and money communicating positive
messages about Neurontin to doctors, Pfizer appears to have devoted fewer
resources to re-educating doctors when the news about Neurontin was negative.
In 2000, Pfizer scientists publish results of a negative study showing that
Neurontin is not as effective as a placebo in treating bipolar disorder.188 But by
2003, the new message about Neurontin’s lack of efficacy for treating bipolar
patients did not to appear to have taken hold among doctors, according to Dr.
Gary Sachs, Director of the Harvard Bipolar Research Program at the
Massachusetts General Hospital.189 Pfizer’s Worldwide Team Leader for
Neurontin, John Marino, admitted that, as far as he was aware of, Pfizer has
never sent out a “Dear Doctor” letter to physicians about Neurontin for the
treatment of bipolar disorder or any other use.190

91.    Leaving aside the question of whether Pfizer had an affirmative to duty to
disclose negative information about Neurontin and to disseminate it among
doctors, it is clear that withholding or delaying such negative information would

183   Marino deposition, p. 318.
184   Marino deposition, pp. 318-319.
185   Marino deposition, pp. 423-424.
186“Dear Doctor” letters are used by pharmaceutical companies and the FDA to alert physicians about drug
safety.
187   “Q. Have you ever initiated the sending of a "Dear Doctor" letter related to Neurontin?
A. No, I don't recall that -- that Neurontin has ever -- at least I have not personally been involved in
sending out a "Dear Doctor" letter to physicians about Neurontin.” Marino deposition, p. 475-476.


188Pande AC, Crockatt JG, Janney CA, Werth JL, Tsaroucha G. Gabapentin in bipolar disorder: a placebo-
controlled trial of adjunctive therapy. Gabapentin Bipolar Disorder Study Group. Bipolar Disord. 2000;2:249-
55. [PMID:11249802].
189   NPR, The Selling of Neurontin by Snigdha Prakash, January 16, 2003

http://www.npr.org/templates/story/story.php?storyId=920362.
190   Marino deposition pp. 475-76.



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cause Neurontin sales for off-label uses to be greater than they would have been
if the negative information had been disclosed where the negative information
pertains to Neurontin’s lack of efficacy for a particular use. Disclosure of
negative information may also cause doctors to modify their behavior in other
ways, such as more closely monitoring their patients, that would lead to better
health outcomes.

       E. Failure to Disclose Known Risks of Neurontin for Depressed and Bipolar
          Patients

92.     Warner-Lambert and subsequently Pfizer were aware from the outset that
Neurontin might be inappropriate for larger populations and posed serious
potential risks for depressed and bipolar patients. According to the original
clinical review of Neurontin by Cynthia G. McCormick, M.D.:

           Less common but more serious events may limit the drug’s
           widespread usefulness. … depression, while it may be not an
           infrequent occurrence in the epileptic population, may become
           worse and require intervention or lead to suicide, as it has resulted
           in some suicidal attempts.

           In its critical database of 2048 patients, [Neurontin] has a risk
           profile that is uncertain, with five groups of important adverse
           events that have not been fully characterized, specifically, seizure
           exacerbation, carcinogenicity, clinically important depression, renal
           failure and teratogenicity. Accumulated long-range safety data are
           limited by the excess of attrition due to apparent lack of sustained
           efficacy.191

93.    These concerns appear to have been the reasons that then Warner-
Lambert researcher Dr. Atul Pande specifically excluded depressed patients from
his study population in a trial of the use of Neurontin for bipolar disorder, a
study that produced negative results: “So who were these people – the
population for this study consisted of bipolar 1 patients and the only subset of
the bipolar 1 patients that we excluded were people that were purely depressed.
So their current state were either manic or hyper manic or mixed, but when we
began this study, we had absolutely no evidence that [Neurontin] was likely to
be antidepressant and therefore, we felt it ethically unjustified to include
depressed patients. (emphasis added)”192

191   Pfizer_LAlphs_0084359-479 at 477.
192 Statement of Atul Pande, M.D., F.R.C.P.C., “Combination Treatment in Bipolar Disorder, ”Third

International Conference On Bipolar Disorder, June 18, 1999.



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94.    I understand that doctors would consider this information material to
their decisions to prescribe Neurontin and that it would have affected their
behavior. I further understand that although the mode of action of Neurontin
was unknown when the drug was originally approved, it is now known that
Neurontin depletes serotonin and neuropinephrine and that low levels of these
neurotransmitters are an established risk factor for depression and suicide.

      F. Drug Risks Decrease Drug Sales

95.    Known risks and side effects play an important role in the prescription of
drugs. The FDA requires that most risks for drugs be listed on the drug’s label or
package insert. Doctors take them into consideration when choosing which drug
to prescribe for a patient. Drug risks, side effects and adverse reactions with
other drugs affect drug sales. Academic studies have shown that an increase in
the number of adverse side effects listed reduces the drug’s sales or market
share, or both.193 When bad news about drug side effects or interactions hits the
market, sales for that drug typically fall.




193See, e.g., Ernst R. Berndt, Linda Bui, David R. Reiley and Glen Urban, “Information, Marketing, and
Pricing in the U.S. Antiulcer Drug Market,” American Economic Review (1995), 85, 2, 100-105; E.R. Berndt, A.
Bhattacharja, D.N. Mishol, A. Arcelus and T. Lasky, “An Analysis of the Diffusion of New Antidepressants:
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(“[P]roduct quality – but particularly a more favorable side effect profile – has a very substantial impact on
product market share.” p. 17); Charles King, “Marketing, Product Differentiation, and Competition in the
Market for Antiulcer Drugs,” HBS Working Paper 01-014 (2002).

This is also true in other economic markets. In the automobile industry, for example, recalls have been
shown to lower the resale price of cars. See R. S. Hartman and M. Doane, “The Use of Hedonic Analysis for
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Organization, Vol. 3, No. 2, Fall 1987, pp. 351-372.




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96.     If the news is particularly bad, sales may fall sharply.194 When serious and
life-threatening risks are identified, the FDA may require that they be
prominently displayed in a “black box” warning.195 The FDA recently
recommended one for the popular pain killer Vioxx® because it increased the
risk of heart attack and stroke in patients who took it for more than 18 months.196
Often drugs receiving “black box” warnings, such as Vioxx, are withdrawn from
the market entirely.197

97.   Thus Warner-Lambert’s and Pfizer’s suppression of adverse information
about Neurontin would have increased Neurontin off-label sales.

      IX. Conclusions




194The scientific literature demonstrates the addition of a “black box” warning for a prescription drug can
profoundly affect its sales. “For example, during the year after [the] FDA required a black box warning for
Seldane® (terfenadine),194 … the product’s ‘sales dropped from around $700 million to $450 million.’”
Beach, op. cit., p. 409 (footnotes omitted). Seldane was originally approved for the relief of symptoms
associated with seasonal allergic rhinitis such as sneezing, rhinorrhea, pruritus, and lacrimation. Seldane
was removed from the market in 1998. (http://www.rxlist.com/cgi/generic/terfen.htm). “After the FDA
“black box” warning, the sales of droperidol decreased by 10-fold during 2002 compared with 2001.” Ashraf
S. Habib, and Tong J. Gan, “Food and Drug Administration Black Box Warning on the Perioperative Use of
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195 J.E. Beach et al., “Black Box Warnings in Rx Drug Labeling: Results of a Survey of 206 Drugs,” Food and

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196Jennifer Corbett Dooren, “FDA Panel Recommends Limited Vioxx Return to U.S. Market,” Wall Street
Journal, 2/18/2005, available online at http://www.wsj.com.
197“Sixteen drugs … approved between 1975 and 2000 were withdrawn from the market between 1975 and
2000; 5 had acquired a black box warning prior to withdrawal.” K.E. Lasser, P.D. Allen, S. Woolhandler,
D.U. Himmelstein, S.M. Wolfe and D.H. Bor, “Timing of New Black Box Warnings and Withdrawals for
Prescription Medications,” Journal of the American Medical Association, Vol. 287, No. 17 (May 1, 2002), p. 2216.



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98.    The goal of pharmaceutical marketing is to influence the prescribing
habits of physicians and increase drug sales. Marketing by pharmaceutical
companies seeks to influence the prescribing patterns of doctors both directly
and indirectly. To obtain information about drugs, physicians rely upon “opinion
leader” physicians and colleagues, medical and scientific journal articles,
experiences of other medical professionals, medical liaisons, pharmaceutical
sales representatives and continuing medical education.

99.    Pharmaceuticals firms interact directly with physicians primarily through
their sales force representatives, who visit doctors in their offices and provide
information about their drugs, often leaving free samples behind. Other channels
of direct communication to physicians include direct mail and medical journal
advertising.

100. Drug companies also influence physicians indirectly through influencing
those who influence physicians in their decisions about which drugs to prescribe.
Indirect channels of influence include self-influence through research, peer
influence, colleagues, key opinion leaders and continuing medical education.
Continuing medical education consists of educational activities that serve to
maintain, develop, or increase the knowledge, skills, and professional
performance of physicians and often take place in conferences, meetings, and
events funded by pharmaceutical companies.

101. Many of marketing’s effects are subtle and pervasive. Doctors are often
unable to explain where they first learned about a drug. Although physicians
frequently claim that they are immune to the marketing and the blandishments
of pharmaceutical companies, studies have shown that doctors and their
prescribing habits are influenced by pharmaceutical companies’ marketing
efforts.

102. In the case of Neurontin, activities that should have been independent of
promotional intent were used to promote Neurontin. These included the use of
continuing medical education, medical research, payment for published articles,
and medical liaisons as well as the suppression of unfavorable study results. By
blurring the distinction between medical and scientific activities and commercial
and promotional activities, Warner-Lambert and allegedly Pfizer subverted the
integrity of the scientific process for determining the efficacy and
appropriateness of Neurontin for treating certain diseases but succeeded in
dramatically increasing off-label prescriptions of Neurontin.

103. Based on my review of        materials in this matter, I have reached the
following conclusions:



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      a. The marketing and promotional efforts of Warner-Lambert and Pfizer
         were significant contributing factors to the off-label sales of
         Neurontin.

      b. Off-label sales of Neurontin would have continued had Pfizer ceased
         off-label promotional activities for Neurontin.

      c. The suppression of information about serious adverse events enabled
         growth in off-label sales.

      d. Pfizer’s off-label marketing of Neurontin indirectly influenced all, or
         substantially, all physicians prescribing of Neurontin.




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                                                                                  May 2007




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                                       EDUCATION

Ph.D. (Economics), Massachusetts Institute of Technology, 1997. Dissertation: Empirical
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J.D., Yale Law School, 1979.

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                                      EMPLOYMENT

       2003 – present   Special Consultant, Greylock McKinnon Associates.
       1997 – 2003      Assistant Professor, Harvard Business School.
       1992 – 1997      Graduate Student, Research Assistant and Teaching Fellow, MIT.
       1981 – present   President, Pleiades Consulting Group, Inc.
       1988 – 1989      President, InterNos, Incorporated.
       1987 – 1989      Manager, The Nelson Companies.
       1985 – 1987      Vice President, Aox Incorporated.
       1984 – 1985      President, ICM Technology Talent, Inc.
       1981 – 1983      President, Xerxes Corporation.
       1979 – 1981      Corporate Attorney, Ropes & Gray.
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                                                                                    King - 2.




                                       RESEARCH


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      Innovation,” Organization Science.

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      their energy requirements.


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 injunctive relief from generic competition from Teva.

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                                                                                      King - 6.



                                        TEACHING


New Course Development

   Harvard Business School, Ph.D. Program, Boston, Massachusetts.

      Information and Network Economics, First year Ph.D. course. Spring 2001, 2002 and
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      Management and Markets: Organizational Economics and Strategy, First year Ph.D.
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Additional Teaching Experience

   Harvard Business School, Boston, Massachusetts.

      First Year Marketing, MBA Course, Fall 1997, 1998; Spring 2000.

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   IBM Premier Program, Faculty Group, Cambridge, Massachusetts.

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                                                                                   King - 7.



                             AWARDS AND FELLOWSHIPS

      Best Reviewer Award, Journal of Public Policy and Marketing, 2003.
      Faculty Research Fellow, National Bureau of Economic Research 2003-2004.
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      Industrial Performance Center Doctoral Fellowship, 1995.
      SHSS Tuition Fellowship Awards, 1993, 1994.
      World Economy Laboratory Summer Fellowships, 1993, 1994.
      Olin Foundation Fellowship, 1992.
      Sigma Xi, Scientific Research Society of North America, 1974.
      Harvard College Scholarship, 1972, 1973.
      John Harvard Scholarship, 1971.
      National Merit Finalist, 1970.
      Bausch & Lomb Science Award, 1970.
      Scientific American First Prize, 1970.


                             PROFESSIONAL ACTIVITIES

Editorial & Professional Service

      President and Board Member, Yale Law Journal Corp., 2007.

      Alumni Advisory Board Member, Yale Law Journal, 2004-2007.

      Program Reviewer, The Robert Wood Johnson Foundation, Substance Abuse Research
         Program. 2002 - present.

      Editorial Review Board Member, Journal of Public Policy & Marketing. 2001 - present.

      Member, Harvard Tobacco Control Working Group. 1998 - present.

Ad Hoc Referee

      American Economic Review
      Journal of Economics and Management Strategy
      Journal of Health Economics
      Journal of Industrial Economics
      Journal of Public Policy & Marketing
      Robert Wood Johnson Foundation
      Tobacco Control
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                                                                                    King - 8.




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       American Economics Association
       American Marketing Association
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                    Attachment B: Documents Relied Upon


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                           Attachment C
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Attachment C

The 2000 Neurontin Program Summary, shown in Table 1 below, clearly
illustrates that Pfizer had more medical education programs directed towards
off-label uses of Neurontin. The only approved use of Neurontin in 2000 was for
adjunctive treatment of epilepsy, yet only 19 of the 764 medical education
program events, or 2.5% of total events, in 2000 were for epilepsy.

Table 1:
Neurontin Program Summary – 2000
                    Unique Programs            Events    Physicians     Physicians per Event
Promotional               896                   1,074      22,070                20
Programs
Medical Education          41                    764        37,600
Programs
  Epilepsy                 16                     19         7,700                82
  Pain                     17                    651        28,400                44
  Psychiatry                8                     94         1,500                77
Recreated from “Neurontin 2001 U.S. Operating Plan”, Pfizer_RGlanzman_0000650-0000776, at
Pfizer_RGlanzman_0000727.

Table 2 shows the events for 2000, taken from a draft version of the Neurontin
2001 Situation Analysis, 1 and Figure 1 shows the medical education plan for 2001
from the Neurontin 2001 U.S. Operating Plan.2 An interesting point of departure
between the draft version of the Neurontin 2001 Situation Analysis and the final
Neurontin 2001 U.S. Operating Plan is that in the draft, medical education
directed toward off-label uses are identified as “Education Support in the Area of
Emerging Uses”, yet in the final version, medical education directed towards
unapproved uses of Neurontin are incorporated into the same table as medical
educational events for approved uses in epilepsy. Figure 1 lists many
educational events for teaching doctors about off-label uses of Neurontin, such as
the symposia entitled “Emerging Uses of AEDs in Psych”.




1
    “Neurontin 2001 Situation Analysis”, Pfizer_JMarino_0002350-84.
2
    See “Neurontin 2001 U.S. Operating Plan”, Pfizer_RGlanzman_0000650-0000776.
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Table 23: Education Support in the Area of Emerging Uses4 in 2000
            Event                 Number        Average Attendance         Estimated Total
                                                                              Attendance
CME Pain Symposia entitled      75 events      Average attendance        7,500
“New Treatment Options in                      per event was 100.        (75 events x 1,000
Management of Pain: The                                                  attendees/event)
Role of Anticonvulsants”.
CME dinner series entitled      125 dinners    Average attendance        3,750
“Re-evaluating Neuropathic                     per event was 30.         (125 dinners x 30
Pain Treatment Algorithms”.                                              attendees/dinner)
CME Grand Rounds series         75 events      Not provided              N/A
entitled “Applications of
Anticonvulsants in
Neurological Conditions”.
CME dinner series entitled      37 dinners     Average attendance        6,660
“Diabetic Neuropathies and                     per event was 180.        (37 dinners x 180
Microvascular                                                            attendees/dinner)
Complications”.
CME PCP pain symposia           16 events      Not provided              N/A
entitled ‘Practical
Approaches to the Treatment
of Chronic Neuropathic
Pain”.
CME Pain Satellite Symposia     1 symposia     Not provided              N/A
at American Academy of
Neurology
CME Pain Satellite Symposia     1 symposia     Not provided              N/A
at American Pain Society
CME Pain Satellite Symposia     1 symposia     Not provided              N/A
at American Geriatric Society
CME Pain Satellite Symposia     1 symposia     Not provided              N/A
at American Society of
Addiction Medicine
CME Pain Satellite Symposia     1 symposia     Not provided              N/A
at American Physicians
Assistants Association




3 Created from “Continue publication/education support in the area of emerging uses” of
Neurontin 2001 Situation Analysis (Pfizer_JMarino_0002350-84, at Pfizer_JMarino_0002375).
4 According to John Marino, “emerging uses” are unapproved uses. Marino deposition, pp.119-

120.
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Figure 1:




Reproduced from Pfizer_RGlanzman_0000650-0000776, at Pfizer_RGlanzman_0000685.
